Case 1:22-cv-00983-VEC   Document 300-50
                                  257-50   Filed 11/05/24
                                                 08/08/24   Page 1 of 62




                  EXHIBIT 50
  Case 1:22-cv-00983-VEC   Document 300-50
                                    257-50    Filed 11/05/24
                                                    08/08/24   Page 2 of 62




                               Nike, Inc.

                                   v.

                              StockX LLC



                   Case No. 1:22-cv-000983-VEC




         First Amended Expert Report of John L. Hansen




                   TM Financial Forensics, LLC
                         May 30, 2023




                                        _________________________
                                        John L. Hansen

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
       Case 1:22-cv-00983-VEC                       Document 300-50
                                                             257-50                    Filed 11/05/24
                                                                                             08/08/24               Page 3 of 62




 I.     INTRODUCTION.............................................................................................................. 2

  A. TM Financial Forensics, an HKA Company / Qualifications.............................................. 2
  B. Retention, Assignment, and Assumptions ........................................................................... 4
  C. Information Considered ....................................................................................................... 5
 II.    SUMMARY OF OPINIONS ............................................................................................. 6

 III. BACKGROUND ................................................................................................................ 7

  A. Nike, Inc. .............................................................................................................................. 7
  1.    Nike’s Trademarks ............................................................................................................... 8
  B. StockX LLC ....................................................................................................................... 10
  C. StockX Authentication Claims and False Advertising ...................................................... 13
  D. StockX Sales of Nike and Jordan Branded Products ......................................................... 18
 IV. OPINIONS ........................................................................................................................ 20

  A. Disgorging StockX’s Profits .............................................................................................. 21
  B. StockX Revenue................................................................................................................. 25
  C. StockX Deductible Costs ................................................................................................... 28
  1.    StockX Cost of Revenues .................................................................................................. 29
  2.    Indirect Costs ..................................................................................................................... 30
  a.    StockX Contribution Margin – 1 ....................................................................................... 31
  b.    StockX Contribution Margin – 2 ....................................................................................... 33
  c.    Other StockX Operating Expenses .................................................................................... 34
  D. Summary of StockX Gross Profits ..................................................................................... 35
  E. Other Deductions ............................................................................................................... 35
  F.    Counterfeit Damages ......................................................................................................... 35
  G. Pre-Judgment Interest ........................................................................................................ 37




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                                      1
          Case 1:22-cv-00983-VEC              Document 300-50
                                                       257-50     Filed 11/05/24
                                                                        08/08/24       Page 4 of 62




     I.     INTRODUCTION

     1.      I submitted the Expert Report of John L. Hansen dated May 5, 2023. On May 23, 2023,
             StockX produced documents bearing bates numbers STX0806027 through STX0806052.
             StockX represented these documents “contain StockX’s audited financial statement for
             2022, as well as updated information reflecting the results of this audit that supersedes
             information previously produced at STX0774394.”1 STX0774394 is StockX’s quarterly
             profit and loss statements for each of its operating entities, both individually and as a
             consolidated entity, from Q1 2020 through Q3 2022. One of the newly produced
             documents, STX0806052, is an updated version of StockX’s quarterly profit and loss
             statements for each of its operating entities, both individually and as a consolidated entity,
             from Q1 2021 through Q4 2022, which reflects changes to certain of the financial data
             for the overlapping period reported in STX0774394.

     2.      I submit this First Amended Expert Report to update the calculations in my May 5, 2023
             Expert Report to incorporate the newly produced StockX financial data noted above.
             Accompanying this First Amended Expert Report are updated Attachments, updated to
             incorporate the newly produced StockX financial data. The Attachments that have been
             updated are referenced throughout this First Amended Expert Report and attached to this
             report bearing a “.U” designation. Also accompanying this report is a redline comparison
             between my May 5, 2023 Expert Report and this First Amended Expert Report to identify
             the minor changes to my calculations caused by incorporation of the newly produced
             StockX financial data.

            A.     TM Financial Forensics, an HKA Company / Qualifications
     3.      TM Financial Forensics, an HKA Company (“TMF-HKA”) is a business, economic,
             financial, and damages consulting company that provides services to business entities,
             individuals, and counsel. TM Financial Forensics, LLC was acquired by HKA on
             November 4, 2022, and I am a Partner at TMF-HKA and a leader of the intellectual
             property practice for the Americas. Previously, I was a Vice President and founding
             member of TM Financial Forensics, LLC in the San Francisco Bay Area offices. I am

1
    StockX Production Letter, May 23, 2023.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                      2
  Case 1:22-cv-00983-VEC          Document 300-50
                                           257-50          Filed 11/05/24
                                                                 08/08/24      Page 5 of 62




      also a Certified Public Accountant licensed in the State of California, Certified in
      Financial Forensics, a Certified Licensing Professional, and a Chartered Global
      Management Accountant. Before founding TMF on January 5, 2010, I was a Director in
      the San Francisco office of Navigant Consulting, Inc.            Before joining Navigant
      Consulting, Inc. in 2004, I was a Vice President in the San Francisco office of Tucker
      Alan Inc. (“Tucker Alan”) and one of the leaders of Tucker Alan’s national intellectual
      property practice. Prior to joining Tucker Alan in August 1994, I was employed by
      Peterson Consulting, where I provided consulting to clients on a variety of regulatory and
      commercial matters. I graduated with honors from Santa Clara University in 1989 with
      a Bachelor of Science in Commerce, major in finance and minor in economics, and
      currently serve on the Advisory Board for the Leavey School of Business at Santa Clara
      University.

 4.   I am experienced in the financial, economic, and accounting matters relating to the scope
      of our work, analysis, and study on this matter. I have consulted on numerous Lanham
      Act matters, including trademark infringement and false advertising cases, as well as
      intellectual property infringement, breach of contract, valuation, and licensing-related
      matters. I have prepared and analyzed hundreds of claims for lost profits, defendant’s
      profits, reasonable royalties, increased costs, and other financial and economic impacts.
      I have also presented and lectured on intellectual property valuation, licensing, and
      economic damages, including to Santa Clara University School of Law, Stanford
      University, The McCarthy Institute (University of San Francisco), the Licensing
      Executives Society and the Rocky Mountain Intellectual Property & Technology Institute,
      as examples.

 5.   My curriculum vitae, including publications during the last ten years, is included as
      Attachment 1 to this Report. A list of cases in which I have testified as an expert witness
      at trial, arbitration, and/or deposition during the last four years is included as Attachment
      2.U to this Report. My hourly billing rate on this matter is $650.

 6.   TMF’s compensation is not dependent on the outcome of this matter.




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                               3
     Case 1:22-cv-00983-VEC                Document 300-50
                                                    257-50             Filed 11/05/24
                                                                             08/08/24         Page 6 of 62




         B.       Retention, Assignment, and Assumptions
    7.    TMF was retained by counsel for Nike, Inc. (“Nike”) to evaluate financial and economic
          issues as well as to assess disgorgement of StockX’s profits related to the false advertising
          claims Nike has asserted against StockX under the Lanham Act under 15 U.S.C. §
          1125(a)(1)(B).2 For purposes of this Report, I have assumed that StockX is found liable
          for false advertising.

    8.    I understand that Nike has alleged that StockX has made several false and misleading
          statements3, including but not limited to claims that the Nike/Jordan branded goods sold
          on StockX’s platform:

                  Are “100% Verified Authentic”4;

                  “100% Authentic”5;

                  Go through a “proprietary multi-step verification process with a team of expert
                   authenticators”6;

                  Use “100+ data points”7;

                  Are authenticated by “authenticators [that] are better equipped than anyone to
                   ensure a product’s authenticity”8;

                  Have “Guaranteed Authenticity. Every item. Every time”9; and

                  Have an authentication accuracy rate of “99.95%.”10


2
  Nike, Inc. v. StockX LLC, First Amended Complaint, No. 22-cv-983, Dkt. 39, (S.D.N.Y. May 25, 2022)
(“Complaint”): p. 67-68. I understand that Nike does not intended to seek to recover monetary damages in
connection with its claims of: (1) trademark infringement under 15 U.S.C. § 1114; (2) false designation of origin /
unfair competition under 15 U.S.C. § 1125(a); (3) trademark dilution under 15 U.S.C. § 1125(c); (4) injury to
business reputation and dilution, New York general business law § 360-1; and (5) common law trademark
infringement and unfair competition asserted in its Complaint.
3
  “Authentication – StockX”: NIKE0006785-790 (at 788); “Authentication – StockX”: NIKE0038783-788 (at 784);
“Big Facts: Verified Authentic – StockX”: NIKE0006776-781 (at 777).
4
  Complaint p. 19-21, 67-68, “Authentication – StockX”: NIKE0006785-790 (at 786).
5
  Complaint pp. 6, 38; NIKE0000016.
6
  Complaint p. 19, 67-68.
7
  Complaint p. 19, “Authentication – StockX”: NIKE0006785-790 (at 786).
8
  Complaint p. 19.
9
  Complaint p. 20-21, “Authentication – StockX”: NIKE0006785-790 (at 786).
10
   Complaint p. 20-21.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         4
       Case 1:22-cv-00983-VEC               Document 300-50
                                                     257-50        Filed 11/05/24
                                                                         08/08/24       Page 7 of 62




      9.     For purposes of this Report, I assume that the period for which Nike is entitled to StockX’s
             profits for the above false advertising statements begins as early as January 1, 2020 and
             ends September 30, 2022 (the “Relevant Period”). Should the finder of fact determine
             that the Relevant Period is different, I reserve the right to update the calculations set forth
             below using the methodology set forth herein.

      10.    I understand that Nike may choose to elect statutory damages in connection with its claim
             for counterfeiting under 15 U.S.C. § 1114 asserted in the Complaint.11 I have also been
             asked to calculate potential statutory damages related to Nike’s claim that StockX has
             acquired, offered for sale, sold, and shipped directly to consumers shoes bearing
             counterfeit Nike trademarks and is therefore liable for counterfeiting under the Lanham
             Act, 15 U.S.C. § 1114.

            C.      Information Considered
      11.    Attachment 3.U to this Report contains a list of various documents, data, and other
             information considered in forming my opinions in this matter. I have also considered the
             applicable legal and accounting principles supporting a disgorgement award. Select pages
             of the documents and information listed in Attachment 3.U may be used as exhibits to
             summarize or support my opinions. Additionally, I may prepare graphical or illustrative
             exhibits to use at trial based on the documents and information relied upon and my
             analysis of those documents and information. I have also had a discussion with Barbara
             Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement).

      12.    The opinions in this Report are based on currently available information.                    If
             representatives of Nike, StockX, third parties, and/or experts retained on behalf of the
             StockX present additional information, then my opinions and conclusions may be
             supplemented, amended, or revised.

      13.    I expect to offer testimony at trial regarding the opinions described within this Report. I
             may also be asked to testify in response to any rebuttal testimony offered by StockX,
             including the methodology for calculating damages used by StockX’s damages expert.


11
     Complaint pp. 66-67; 15 U.S.C. § 1117(c).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                       5
       Case 1:22-cv-00983-VEC              Document 300-50
                                                    257-50             Filed 11/05/24
                                                                             08/08/24         Page 8 of 62




     14.   TMF received and executed a copy of the protective order in this matter. Some of the
           documents considered have been designated as “CONFIDENTIAL,” “HIGHLY
           CONFIDENTIAL – ATTORNEY’S EYES ONLY,” or “HIGHLY CONFIDENTIAL –
           OUTSIDE COUNSEL’S EYES ONLY” pursuant to the protective order. Accordingly, I
           understand that portions of this Report and Attachments may be designated as “HIGHLY
           CONFIDENTIAL – OUTSIDE COUNSEL’S EYES ONLY.”

 II.       SUMMARY OF OPINIONS

     15.   I have been asked by counsel for Nike to evaluate financial and economic issues as well
           as to assess disgorgement of StockX’s profits related to the false advertising claims Nike
           has asserted against StockX under the Lanham Act under 15 U.S.C. § 1125(a)(1)(B).

     16.   As discussed in detail below, StockX’s business is centered around authentication, and
           StockX used its authentication service to gain a competitive advantage in the marketplace.
           Assuming that StockX’s advertising claims about its authentication were false, and
           StockX authenticated and facilitated the sale of counterfeit Nike/Jordan-branded
           sneakers, my analysis indicates that StockX has benefitted by earning ill-gotten profits
           derived from falsely and/or misleadingly claiming that every “Nike” and “Jordan” brand
           good sold on its platform was “100% Authentic.” Additionally, based on the documents
           and testimony discussed below, StockX’s false advertising claims directly harm Nike’s
           valuable brands and the significant goodwill Nike has amassed in those brands. While I
           have not quantified Nike’s reputational injury, the evidence indicates that StockX’s false
           advertising impacts Nike’s business.

     17.   As described in Section IV.B below, StockX generated                                         in revenue
           from trades of Nike and Jordan branded sneakers where at least one side of the trade
           included a U.S. individual.12 I understand that after identifying the
           of revenue at issue, the burden shifts to StockX to prove claimed elements of costs or
           other deductions. Nonetheless, in Section IV.C.1, I deducted                                 of StockX
           “cost of revenues” to calculate gross profits related to StockX’s falsely advertised sales


12
  I reserve the right to supplement my opinion should StockX present a different calculation of revenues attributable
to its false advertising.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         6
       Case 1:22-cv-00983-VEC              Document 300-50
                                                    257-50               Filed 11/05/24
                                                                               08/08/24   Page 9 of 62




            of “100% Authentic” Nike and Jordan-branded sneakers. I recognize that indirect costs
            might be deductible, but only where they are actually implicated by the production and
            sale of the products at issue, and that the defendant must demonstrate a direct and valid
            nexus between each claimed overhead expense category and the accused sales. In Section
            IV.C.2, I address certain of StockX’s indirect operating expenses.

     18.    A summarized in Table 1 below, after deducting StockX’s cost of revenues from revenue,
            StockX generated                      in gross profit over the Relevant Period from facilitating
            resale trades of Nike and Jordan branded sneakers where at least one side of the trade
            included a U.S. individual.




     19.    I have also been asked to calculate Nike’s potential statutory damages pursuant to 15
            U.S.C. § 1117(c) related to the counterfeiting claim Nike has asserted against StockX
            under certain scenarios, which are set forth in Section IV.F.

III.       BACKGROUND

           A.     Nike, Inc.
     20.    Nike was incorporated in 1967 under the laws of Oregon.14 Nike designs, develops,
            markets and sells high-quality footwear, apparel, equipment and accessory products.15
            Nike’s footwear and apparel are primarily designed for specific athletic use, and it designs
            products specifically for the Jordan Brand and Converse.16 Nike also sells performance
            equipment and accessories, including bags, socks, sport balls, protective equipment, and


13
   Attachment 5.U.
14
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, p. 1.
15
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, p. 1.
16
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, p. 1.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                          7
     Case 1:22-cv-00983-VEC            Document 300-50
                                                257-50           Filed 11/05/24
                                                                       08/08/24   Page 10 of 62




           other equipment designed for sports activities.17 Nike sells its products through Nike-
           owned retail stores and digital platforms, as well as through independent distributors and
           licensees.18

     21.   Nike Direct operations sells goods through Nike’s “digital commerce operations and retail
           stores” competing with “multi-brand retailers, which sell [Nike] products through their
           digital platforms and physical stores, and with digital commerce platforms.”19 Nike
           identifies “shifts in the ways in which consumers shop, and the continued proliferation of
           digital commerce” as constituting a “risk factor” implicating its business.20

     22.   Nike’s “iconic brands have worldwide recognition” and its “success depends on [its]
           ability to maintain and enhance [its] brand image and reputation.”21 For Nike’s fiscal
           year 2022 alone it spent approximately $3.8 billion dollars on advertising and promoting
           its brands.22

                 1.        Nike’s Trademarks
     23.   Through decades of significant marketing, advertising and investment, Nike and its
           brands have achieved recognition throughout the United States. Since inception in 1967,
           Nike has grown its brand into one of the most recognizable in the world, recently ranked
           as the 10th best global brand by Interbrand.23

     24.   Nike is the owner of the right, title and interest in numerous trademarks, including the
           iconic trademarks in Table 2 below, which Nike asserted in connection with its
           counterfeiting claim.




17
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, p. 1.
18
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, pp. 1-2.
19
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, p. 11.
20
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, p. 11.
21
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, p. 13.
22
   Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022, p. 34.
23
   “Interbrand launches Best Global Brands 2022, INTERBRAND (Nov. 3, 2022)”:
https://interbrand.com/newsroom/interbrand-launches-best-global-brands-2022/.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                     8
      Case 1:22-cv-00983-VEC           Document 300-50
                                                257-50           Filed 11/05/24
                                                                       08/08/24        Page 11 of 62




                            Table 2: Nike Asserted Marks
  Reg. No.           Title     Trademark Design        Reg. Date                           Classes
 1,370,28324     AIR JORDAN       AIR JORDAN          11/12/1985                        25 – Clothing,
                                   (word mark)                                            footwear
 3,725,53525      Air Jordan &                                        12/15/2009        25 – Clothing,
                 Wings Design26                                                           footwear,
                                                                                          headgear

 3,627,82027      JUMPMAN                    JUMPMAN                  5/26/2009         25 – Clothing,
                                             (word mark)                                  footwear,
                                                                                          headgear
 1,558,10028        JumpMan                                           9/26/1989         25 – Clothing,
                     Design                                                               footwear




     978,95229        NIKE                      NIKE                  2/19/1974         25– Clothing,
                                             (word mark)                                  footwear,
                                                                                          headgear
 1,214,93030          NIKE                      NIKE                  11/2/1982         25– Footwear
                                             (word mark)
 1,325,93831        NIKE &                                            3/19/1985         25 – Footwear
                    Swoosh
                    Design32
     977,19033   Swoosh Design                                        1/22/1974         25 – Footwear


 1,323,34334     Swoosh Design                                         3/5/1985         25 – Footwear




24
   AIR JORDAN, Registration No. 1,370,283.
25
   AIR JORDAN & Wings Design, Registration No. 3,725,535.
26
   The mark consists of a stylized AIR JORDAN & Wings Design. No “Title” on U.S. Patent and Trademark Office
registration. “Unofficial descriptive title” used by Nike in its Complaint. Complaint: p. 12.
27
   JUMPMAN, Registration No. 3,627,820.
28
   JUMPMAN Design, Registration No. 1,558,100.
29
   NIKE, Registration No. 978,952.
30
   NIKE, Registration No. 1,214,930.
31
   NIKE & Swoosh Design, Registration No. 1,325,938.
32
   The mark consists of a stylized NIKE & Swoosh Design. No “Title” on U.S. Patent and Trademark Office
registration. “Unofficial descriptive title” used by Nike in its Complaint. Complaint: p. 13.
33
   Swoosh Design, Registration No. 977,190.
34
   Swoosh Design, Registration No. 1,323,343.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                     9
     Case 1:22-cv-00983-VEC               Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24         Page 12 of 62




           B.     StockX LLC
     25.    StockX was incorporated in 2015 and is headquartered in Detroit, Michigan.35 StockX
            operates as a live, online marketplace where buyers and resellers can make anonymous
            offers to buy and sell a variety of sneakers, apparel, electronics, collectibles, trading cards,
            and accessories (the “StockX Platform”).36 I understand that StockX is shorthand for
            “Stock Market of Things.”37

     26.    StockX’s Resale Platform: StockX’s resale platform is accessed through the StockX
            website and StockX mobile app.38 StockX claims that it only allows deadstock, or items
            that are authentic, new, and unworn at the time of sale, on its platform.39 StockX does
            not sell goods directly to consumers, instead, StockX facilitates “trades” made by
            consumers that buy and sell goods from each other on StockX’s Platform.40 Product
            prices on StockX’s Platform are set by bids and asks from the buyers and sellers, and the
            transaction is initiated when a buyer’s bid matches with a seller’s ask for a given
            product.41   StockX’s product categories include: sneakers, apparel and accessories,
            collectibles, and electronics.42

     27.    StockX acts as an intermediary for each transaction that takes place on its resale platform
            and earns revenue by charging fees to buyers and sellers.43 Typically, the seller ships an
            item to StockX, StockX receives and purportedly verifies the item’s authenticity, StockX
            then ships the item to the buyer with a StockX-branded verification badge, and StockX


35
   StockX, CRUNCHBASE, https://www.crunchbase.com/organization/stockx (last visited May 5, 2023); StockX LLC,
BLOOMBERG, https://www.bloomberg.com/profile/company/1786Z:SW(last visited May 5, 2023).
36
   The Current Culture Marketplace, STOCKX, https://stockx.com/about/how-it-works/ (last visited May 5, 2023).
37
   Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: p. 54:4-15.
38
   The Current Culture Marketplace, STOCKX, https://stockx.com/about/how-it-works/ (last visited May 5, 2023);
Complaint: ¶48.
39
   Every item is StockX Verified, STOCKX, https://stockx.com/about/verification/ (last visited May 5, 2023); What is
the condition of items sold on StockX?, STOCKX, https://stockx.com/help/articles/Are-shoes-sold-on-StockX-
considered-deadstock (last visited May 5, 2023).
40
   StockX Inc. Consolidated Financial Statements for Years Ended December 31, 2019 and 2020: STX0774286 –
308 (at 293); Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023:
pp. 107:9-108:4.
41
   StockX Inc. Consolidated Financial Statements for Years Ended December 31, 2020 and 2021: STX0774309 –
336 (at 315).
42
   StockX Inc. May 2022 Board Meeting: STX0594887 - 073 (at 929).
43
   How do I sell on StockX?, STOCKX, https://stockx.com/help/articles/How-do-I-sell-on-StockX (last visited May 5,
2023); StockX Inc. Consuming & Trading: STX0020523 – 534 (at 523).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                        10
     Case 1:22-cv-00983-VEC               Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24         Page 13 of 62




           pays the seller (less its transaction fees).44 StockX’s transaction fees, charged to the
           buyers and resellers of goods that utilize its resale platform, are attributed to StockX
           services rendered in facilitating the transaction, shipping the products, and authenticating
           the goods sold.45

     28.   StockX’s “core audience is…for sneakers”46 and its U.S. consumers are evenly balanced
           between men and women and range in age from 18 to 54.47 Many StockX consumers are
           “sneakerheads” – those who are passionate about sneakers and sneaker culture and shop
           the limited-edition sneakers available on StockX’s Platform.48

     29.   Product “authentication” is one of the most important drivers of sales on StockX’s
           Platform. For example, in an internal Consuming and Trading report, StockX wrote: “The
           driver of the model since day one has consisted of two sided trade with authentication in
           the middle.”49 StockX’s CEO, Scott Cutler, has also stated “the authentication process
           stands in the middle of every transaction for us. It results in an end buyer’s high degree
           of trust in us as a brand to authenticate the products that are sold on our market.”50 StockX
           understands that consumers “depend on StockX to ensure that every product they get is




44
   StockX Inc. Consuming & Trading: STX0020523 – 534 (at 523); What kinds of sneakers are sold on StockX?,
STOCKX, https://stockx.com/help/articles/What-kinds-of-sneakers-are-sold-on-StockX (last visited May 5, 2023).
45
   StockX Inc. Consolidated Financial Statements for Years Ended December 31, 2019 and 2020: STX0774286 –
308 (at 295); StockX Inc. Consolidated Financial Statements for Years Ended December 31, 2020 and 2021:
STX0774309 – 336 (at 316).
46
   Deposition of Jacob Fenton (StockX VP of Customer Experience and Insights), December 2, 2022: pp. 43:10-
44:3.
47
   See STX0091819 – 911 at (at 886) (describing StockX’s core audience).
48
   Sneakerheads Are Helping StockX Pursue A $2.5 Billion Valuation, FORBES (Dec. 15, 2020),
https://www.forbes.com/sites/korihale/2020/12/15/sneakerheads-are-helping-stockx-pursue-a-25-billion-
valuation/?sh=46eff5272255; Khadeeja Safdar, StockX, Hub for Sneakerheads, Is Latest $1 Billion Unicorn, WALL
ST. J. (June 26, 2019), https://www.wsj.com/articles/stockx-hub-for-sneakerheads-is-latest-1-billion-unicorn-
11561571959. This overlaps with the customers of Nike sneakers, who are “the general mass[es],” typically ranging
from age 18 to 34, are geographically diverse, and skews male. Deposition of Ron Faris (Nike VP and GM of Nike
Virtual Studios), December 7, 2022: pp. 263:14- 264:16. Nike “high heat” products target “more sneakerhead,
people who are more passionate about sneakers and sneaker culture.” Deposition of Ron Faris (Nike VP and GM of
Nike Virtual Studios), December 7, 2022: pp. 263:2-13.
49
   “Consuming and Trading: STX0020523-534 (at 523).
50
   Marc Bain, For StockX, selling sneakers is just the beginning, QUARTZ (May 8, 2021),
https://qz.com/2005457/for-stockx-selling-jordans-is-just-the-beginning; StockX Launches Vault NFTs, STOCKX
(Jan. 18, 2022), https://stockx.com/about/stockx-launches-vault-nfts/ (“our marketplace is centered on authenticity,
liquidity, and market visibility with pricing based solely on supply and demand.”)

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                        11
     Case 1:22-cv-00983-VEC               Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24         Page 14 of 62




           authentic.”51 StockX internal email correspondence further indicates that its “entire brand
           is built on authenticity/authentication.”52

     30.   Consumer trust (i.e., the belief that they are buying authentic goods) is identified as an
           important attribute for consumers in the resale market. A StockX Global Segmentation
           Study states that “When buying, trust dominates as the most important attribute on
           platforms. Buyers emphasize trust, authentication & fair deal as most important.”53 The
           study commissioned by StockX shows that in the U.S., 61% of survey respondents said
           that “Knowing the good is certified as authentic” is “most important to you when choosing
           an online reselling platform to buy goods” and 65% of survey respondents said that having
           “trustworthy buyers/sellers” is “most important to you when choosing an online platform
           to sell goods.”54

     31.   During the Relevant Period, StockX did not have a publicized return policy for accepting
           returns for products purchased on its platform.55 In fact, StockX’s policy for its custom
           service team’s handling of return requests was to encourage users to resell products on its
           platform, including when customers seek to return items because they believe the items
           are fake.56


51
   StockX eLT Meeting Presentation: STX0039423-473 (at 440).
52
   StockX internal email correspondence from Will Rodriguz, November 3, 2021: STX0039585-592 (at 586).
53
   Deposition of Jacob Fenton (StockX VP of Customer Experience and Insights), December 2, 2022: pp. 58:4-
60:17; Fenton Ex. 6, StockX Decode_M Segment Results Presentation: STX0018453-499 (at 465-466); See also,
StockX 5 Year Energy Merchandising Plan, March 16, 2022: STX0090493-677 (at 503, 505) (“StockX is starting
point for all hard to find items of our core customer base and recognized as the trusted brand.” “We aspire to be the
trusted, global platform for consuming and trading Current Culture.”)
54
   Deposition of Jacob Fenton (StockX VP of Customer Experience and Insights), December 2, 2022: pp. 58:4-
60:17; Fenton Ex. 6, StockX Decode_M Segment Results Presentation: STX0018453-499 (at 465-466).
55
   Fenton Ex. 16: STX0021481-498 (at 484) (“All sales are final. StockX does not allow for returns, exchanges, or
cancellations”); Fenton Ex. 14: StockX Returns & Cancellations Presentation, February 2021: STX0020225-268 (at
227, 231) (“We all know that StockX does not offer, at least programmatically, a way to meet key standard customer
expectations as it relates to returns and exchanges”); StockX Business Requirements Document Returns &
Cancellations Policy, February 2021, STX0091556-567 at 556 (“Users who request returns are directed to resell the
item back on the platform”); Appeals and Process Improvements: STX0061163-172 at (165) (describing customer
service interactions with failed sales: “Depends on the issue, but for fakes for example … there’s no real process to
handle the interaction with the customer – Sometimes it gets handled based on how the seller responds  if the
seller gets really angry than you will typically will make an exception for the customer”).
56
   “Users who request returns are directed to resell the item back on the platform – Only after multiple requests and
loud complaints do CS agents initiate a return.”: StockX Business Requirements Document Returns & Cancellations
Policy, February 2021: STX0091556-567 (at 557); Additionally, Mr. Roy Kim, a third party consumer and sneaker



HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         12
    Case 1:22-cv-00983-VEC                Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24          Page 15 of 62




         C.       StockX Authentication Claims and False Advertising
   32.    During the Relevant Period, StockX purported to authenticate every item sold through its
          proprietary multi-step verification process.57 StockX claimed to use a “proprietary, multi-
          step authentication process for every product sold on its platform.”58 StockX represented
          that “this process ensures that items traded on StockX conform to the product descriptions
          and condition standards advertised by StockX, and that the products offered for sale are
          what they claim to be, and are not counterfeit, defective, or used—meaning StockX’s
          customers can trust that transactions made through StockX are safe.”59 StockX claimed
          to have “authenticated tens of millions of products since its formation, combining its
          authentication team’s expert knowledge with AI-enhanced technology to allow global
          customers to trade with confidence.”60 I understand a StockX authenticator spends, on
          average, 90 seconds reviewing a particular product.61 StockX has five authentication
          centers located in the United States, as well as authentication centers in United Kingdom,
          the Netherlands, Canada, Mexico City, Hong Kong, Australia, Japan and South Korea.62

   33.    Over the Relevant Period, in connection with StockX’s authentication process, StockX
          made a number of additional marketing claims designed to inform consumers that items
          bought on StockX are “Guaranteed Authentic” because all products are “100% Verified
          Authentic.”63        Additionally, StockX product pages, including those where the
          Nike/Jordan branded goods sold on the StockX Platform, each advertise the fact that the




collector testified about his experience trying to get a return though “official channels” but not getting anyone at
StockX’s attention until he posted about the number of counterfeit items on social media. According to Mr. Kim, he
was aware that in the past, “StockX had suggested that if, as a buyer, when we’re unhappy with the authenticity or if
we believe the shoes would be inauthentic, to sell them back through the platform”. Deposition of Roy Kim (Third
Party Consumer and Sneaker Collector), February 8, 2023: pp. 67:19-70:15, 71:12-74:2.
57
   The Current Culture Marketplace, STOCKX, https://stockx.com/about/how-it-works/ (last visited May 5, 2023);
Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 20:24-
21:4.
58
   StockX Answer to Complaint, March 31, 2022: ¶2.
59
   StockX Answer to Complaint, March 31, 2022: ¶2.
60
   StockX Answer to Complaint, March 31, 2022: ¶2.
61
   Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 66:24-
67:1.
62
   StockX Inc. Consolidated Financial Statements for Years Ended December 31, 2020 and 2021: STX0774309 –
336 (at 315); https://stockx.com/help/articles/where-is-StockX-located
63
   Authentication – StockX: NIKE0006785-790 (at 786).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         13
     Case 1:22-cv-00983-VEC            Document 300-50
                                                257-50            Filed 11/05/24
                                                                        08/08/24       Page 16 of 62




           product offered for sale is “100% Authentic.”64 After the filing of this lawsuit, StockX
           introduced a number of variations of promises regarding the authenticity of the products
           it sells, including “Verified Authentic” and “We Authenticate Every Item. Every Time.”
           These promises and guarantees of authenticity were made in connection with the sale of
           the Nike/Jordan branded goods. I understand that StockX is not an authorized distributor
           of Nike products.65

     34.   StockX touts its authentication process, telling consumers to “[t]rust The Process” that it
           has built through a team of “expert authenticators” that use “a rigorous, multi-step
           verification procedure.”66 StockX assures consumers that its “authenticators are better
           equipped than anyone to ensure a product’s authenticity.”67 StockX further states that
           “we use machine learning to aid our authenticators in catching every minor detail” and
           quality assurance to conduct a “final check in our authentication practice…[to] ensure
           nothing slips through the cracks.”68

     35.   StockX differentiates itself from other competitors in the secondary market by
           “invent[ing] an entirely new job category of authenticator.”69 In an article titled “StockX.
           Always Authentic, Never Fake,” StockX queries: “Before StockX, how did you know
           you know your shoes weren’t fake? You didn’t have much assurance that the sneakers
           you bought online were authentic.”70 But StockX promises that while “[o]utside of
           StockX, the sneaker reseal market is far from safe. . . . resale on StockX is different.”71
           StockX explained:

                       By adding an authentication layer on top of the normal
                       transactional relationship, StockX changed the game. And by
                       standing between buyer and seller and authenticating every item
                       sold on our marketplace, we moved past the old world where

64
   For example, see Stock Historical Web Archives: NIKE0039854-40006; StockX Product Page for Jordan 1 Retro
High OG:STX0484545.
65
   Complaint: ¶48.
66
   Authentication – StockX: NIKE0006785-790 (at 786); see also Every item is StockX Verified, STOCKX,
https://stockx.com/about/verification/ (last visited May 5, 2023).
67
   Authentication – StockX: NIKE0006785-790 (at 786).
68
   Authentication – StockX: NIKE0006785-790 (at 786-787).
69
   Fenton Ex. 11: STX0020185-188 (at 186).
70
   Stock Historical Web Archives: NIKE0039854-40006 (at 855)
71
   Is StockX Legit The Answer Is Yes – StockX News: NIKE0038792-798 (at 794).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                     14
     Case 1:22-cv-00983-VEC               Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24         Page 17 of 62




                        getting fake sneakers was a common occurrence, and entered a
                        new world where authenticity was central to the shopping
                        experience.72
     36.   StockX’s go to market strategy involves heavily marketing its authentication process,
           which it believes provides StockX a competitive advantage.73 Given the prevalence of
           counterfeit sneakers in the secondary marketplace, StockX used its claimed guarantee of
           product authenticity to gain a competitive advantage in the marketplace.74

     37.   I understand, however, that discovery in this case has revealed that StockX has
           “authenticated” and sold at least 90 confirmed counterfeit pairs of “Nike” branded
           shoes.75 In one example, I understand that a third party consumer and sneaker collector
           named Roy Kim purchased sixty-two pairs of “Nike” shoes from the StockX Platform
           between March and July 2022 and that Nike confirmed that thirty-eight of those sixty-




72
   Is StockX Legit The Answer Is Yes – StockX News: NIKE0038792-798 (at 794).
73
   StockX ML & Authentication Presentation: STX0023881-887 (at 882) (“Authentication enables key parts of the
StockX Model”); Fenton Ex. 11: STX0020185-188 (at 185-186) (“Authentication is at the core of the experience
and StockX set the industry standard. … StockX invented an entirely new job category of authenticator; they are
armed with a robust database of proprietary information to effectively assess the legitimacy of each product.”);
StockX Creative Brief: STX069905-907 at (905-906) (describing the goal of redesigning its “Authentication
Landing Page” as providing StockX’s customers “a sense of assurance in the authenticity of the products traded on
StockX and feel a level of confidence in StockX’s authentication process that separates StockX from the rest of the
authenticated luxury competitive landscape.”); Deposition of Jacob Fenton (StockX VP of Customer Experience and
Insights), December 2, 2022: pp.105:20-106:25 (describing benefits of purchasing on StockX over Facebook
Marketplace, Instagram, and eBay because products on StockX “have been verified against, you know,
manufacturing defects, making sure they have all the right accessories, the right sizes, things of that nature.”);
Fenton Exhibit 15: StockX Brand Page Copy & Design Review, October 2020: STX021182-188 (at 186) (stating
that a goal of StockX’s “Authentication Page” is to “Differentiate our authentication from the competition.");
StockX Q3 Global All Hands September 2021 Presentation: STX0016703-869 (at 797) (“Our Authentication
Centers Are a Competitive Advantage”); “Taking Stock Of StockX: Deep Dive Into The Sneaker Resale Market
Leader”, Wells Fargo, January 27, 2020: p. 2 (“The authentication aspect is key, as the fear of spending hundreds of
dollars on a counterfeit pair of sneakers has been a key hurdle for potential buyers to overcome.”.
74
   Expert Report of Kari Kammel, May 5, 2023 (“Kammel Report”): p. 14 (discussing the prevalence of counterfeit
sneakers and the impact on the footwear industry); Praveena Somasundaram, As counterfeits rise, sneaker
authenticators sniff out real from fake, WASH. POST (Sept. 30, 2022),
https://www.washingtonpost.com/business/2022/09/30/sneaker-authentication-ebay-stockx-nike/ (“Resale
companies including eBay, StockX and GOAT have turned to sneaker authenticators to protect their trade,
promising patrons that sneakers resold on their sites are certified.”); Is StockX Legit The Answer Is Yes – StockX
News: NIKE0038792-798 (at 794) (“In 2020, analysts estimated that the counterfeit sneaker market alone was worth
$450 million. The proliferation of fake sneakers has become commonplace and widespread.”)
75
   Nike’s Supplemental Response to StockX’s Third Set of Interrogatories, (No. 20), April 17, 2023; NIKE0029087;
NIKE0039436, NIKE0081471.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                        15
     Case 1:22-cv-00983-VEC               Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24         Page 18 of 62




           two pairs are counterfeit.76 I further understand that StockX did not produce information
           from which one could identify the exact number of additional counterfeit “Nike” goods
           that StockX has “authenticated” and sold to consumers over the Relevant Period. 77

     38.   However, evidence indicates that StockX has “authenticated” and sold hundreds of
           additional counterfeit “Nike” shoes during the Relevant Period. For example, StockX’s
           own internal documents reveal that StockX is aware that hundreds of counterfeit product
           is sold to customers each year, even while StockX was representing to the public that
           products sold on StockX’s Platform were “100% Authentic.”78 StockX claims to have a
           99.95% to 99.96% accuracy rate.79 Based on this representation, if approximately 0.04%
           (100.00% - 99.96%) of StockX trades during the Relevant Period were “passed in error”
           then an estimate of the number of Jordan and Nike branded sneakers authenticated in error
           during the Relevant Period is approximately                                            x 0.04%).81

     39.   StockX’s authentication accuracy rates are derived from products returned to StockX that
           it reauthenticates and determines to be inauthentic.82 In other words, if customers do not

76
   Deposition of Roy Kim (Third Party Consumer and Sneaker Collector), February 8, 2023: pp. 28:5-30:18, 63:19-
67:12; Deposition of Russell Amidon (StockX Senior Director of VIP Relations), November 30, 2022: pp. 83:19-
91:12; Order Dkt. 171 (order compelling production of documents concerning StockX’s previously withheld
“conclusions that StockX’s authenticators reached upon review of Mr. Kim’s returned shoes.”); Brendan Dunne,
Nike v. StockX Lawsuit: How One Buyer got 38 Fake Pairs of Sneakers, COMPLEX (Mar. 21, 2023),
https://www.complex.com/sneakers/stockx-fake-sneakers-nike-lawsuit-38-pairs.
77
   StockX’s First Supplemental Objections and Responses to Plaintiff’s Third Set of Interrogatories at Interrogatory,
March 21, 2023: pp. 25-26, citing to STX0774284. The amount of counterfeit “Nike” goods that StockX has
“authenticated” and sold to consumers over the Relevant Period cannot be determined from this document.
78
   Fenton Ex. 12, StockX Document “Authentication Project / Metrics/Data”: STX0018010-814 (identifying number
of “Fakes passed by mistake in 2021”); Deposition of Jacob Fenton (StockX VP of Customer Experience and
Insights), December 2, 2022: pp. 90:15-91:8 (describing Fenton Exhibit 12 which identifies “TRUE MISS” OR
“Fake Returns Accepted” as items that passed StockX authentication, were returned by the customer, and were
determined by StockX that it should not have passed authentication “Because it was counterfeit”).
79
   Fenton Ex. 11: STX0020185-188 (at 185); Fenton Ex. 12, StockX Document “Authentication Project /
Metrics/Data”: STX0018010-814 (at 010).
80
   Attachment 6.U.
81
   Fenton Ex. 12, StockX Document “Authentication Project / Metrics/Data”: STX0018010-814 (at 010). This
document separately indicates that “.01% of the products we pass are later determined to have been counterfeit.”
Based on this representation, if approximately 0.01% of StockX trades during the Relevant Period were counterfeit,
then an estimate of the number of counterfeit Jordan and Nike branded sneakers authenticated in error during the
Relevant Period is approximately                            x 0.01%).
82
   Deposition of Jacob Fenton (StockX VP of Customer Experience and Insights), December 2, 2022: pp. 82:16-
83:20 (explaining that StockX’s “accuracy rate of 99.95%” is “calculated as a percentage of customers that reach out
to StockX claiming that they have received something that is not in line…with what they expected to get, and that
we were essentially wrong, and we fixed it for them”); Fenton Ex. 11: STX0020185-188 (at 185) (discussing



HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         16
    Case 1:22-cv-00983-VEC                 Document 300-50
                                                    257-50             Filed 11/05/24
                                                                             08/08/24         Page 19 of 62




          know they purchased counterfeit sneakers, or suspected or knew it but did not return the
          sneakers to StockX, those would not be accounted for in StockX’s accuracy rate. As a
          result, StockX’s own assessment of the number of fakes that pass through its platform is
          likely understated.

   40.    For example, although StockX claims to have industry leading authenticators, an
          unknown number of counterfeit products escape detection. I understand from Kari
          Kammel, Nike’s trademark counterfeiting expert, that only the brand owner or those
          authorized by the brand owner can authenticate a genuine trademark and products – and
          that general inspection by a consumer or an e-commerce site may be able to identify an
          obvious counterfeit because of overt differences, but that does not equate to
          authentication.83       StockX knows authenticators let counterfeits pass through its
          authentication process.84 Given the increasing quality of counterfeit “Nike” shoes found
          in the market, and StockX’s repeated guarantees and assurances that every good sold on
          the StockX Platform is “100% Authentic” during the Relevant Period, there are
          potentially significant additional consumers who purchased counterfeit “Nike” shoes
          from the StockX Platform during the Relevant Period.85

   41.    As addressed above, during the Relevant Period, StockX did not have a publicized return
          policy for accepting returns for products purchased on its platform. StockX’s lack of a


StockX’s claimed “accuracy rate of 99.95%”); Appeals and Process Improvements: STX0061163-172 (at 166)
(discussing re-authentication process where customer believes the product is fake).
83
   Kammel Report: pp. 23-24.
84
   Fenton Ex. 12, StockX Document “Authentication Project / Metrics/Data”: STX0018010-814 (identifying number
of “Fakes passed by mistake in 2021”); Deposition of Jacob Fenton (StockX VP of Customer Experience and
Insights), December 2, 2022: pp. 90:15-91:8 (describing Fenton Exhibit 12 which identifies “TRUE MISS” OR
“Fake Returns Accepted” as items that passed StockX authentication, were returned by the customer, and were
determined by StockX that it should not have passed authentication “Because it was counterfeit”); Mr. Fenton
further stated that there may be “bad employees” who need to be fired based on authentication errors made.
Deposition of Jacob Fenton (StockX VP of Customer Experience and Insights), December 2, 2022: p. 141:10-21.
85
   Kammel Report: pp. 12, 14-15 (discussing that most consumers cannot tell whether a product is counterfeit or not,
unless the quality difference is obvious. For “high heat” products, the counterfeits are often high quality and
consumers can be misled); Discussion with Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital
IP Enforcement); What is driving the proliferation of counterfeit sneakers?, The Economist,
https://www.economist.com/films/2022/12/08/what-is-driving-the-proliferation-of-counterfeit-sneakers (“The
quantity and quality of counterfeit consumer goods have never been greater. The biggest category is footwear,
accounting for a fifth of the value of all counterfeit goods.”); 7 Myths About Counterfeit Products, Debunked, NY
Times, https://www.nytimes.com/wirecutter/blog/myths-about-counterfeit-products-debunked/. (explaining that
“[t]he quality of counterfeit products has greatly improved from what they used to be”) (internal quotations omitted).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         17
     Case 1:22-cv-00983-VEC               Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24         Page 20 of 62




            return policy reduces the likelihood that StockX will learn that a product is counterfeit.86
            Therefore, StockX’s estimate of its accuracy rate (ranging between 99.95% to 99.96%
            during the Relevant Period) is likely to be overstated as it fails to account for attempted
            returns StockX refused to accept and any fake sneakers that were resold through the
            platform at StockX’s direction. Additionally, setting aside the return policy, StockX’s
            accuracy percentage based on returns inherently assumes that the purchasing consumer is
            sophisticated enough to recognize that the product returned is not authentic. Although a
            sneaker collector (i.e., “sneakerhead”) may be able to identify flaws in the product they
            receive or know to check authentication apps to attempt to independently validate the
            authenticity of products purchased, many consumers depend on StockX to authenticate
            the sneakers.87 As a result, it is not possible to determine with certainty StockX’s true
            accuracy rate.

           D.     StockX Sales of Nike and Jordan Branded Products
     42.    Nike products, including sneakers, make up a significant portion of StockX resales. For
            example, StockX identified the three “2022’s winning sneakers” as: Jordan 11 Retro
            Cherry (2022) for most trades on release week, Nike Dunk Low for top traded silhouette,
            and Nike Air Force 1 Low Off-White Brooklyn for highest price premium.88 Similarly,
            in 2021, Air Jordan and Nike were the top traded brands on StockX’s platform.89 Among
            the five top traded silhouettes of 2021, there were 4 Nike sneakers: Nike’s Air Jordan 1,

86
   Kammel Report: p. 9 ([“While some platforms make efforts to fend off counterfeiting activity, the majority of
efforts are reactive and do nothing to proactively disrupt the sale before it occurs, relying only on complaints by
brand owners and occasionally by consumers after the sale of the counterfeit products has occurred. Sellers of
counterfeits are aware of this—as is any brand owner who has worked in brand protection—counterfeiters will sell
their products where the barrier to market entry is low and enforcement is inadequate and non-preventive by
platforms.”].
87
   Kammel Report: p. 12 (discussing the lack of transparency for online marketplaces, including the problem that
“upon receipt of the products, most consumers cannot tell whether a product is counterfeit or not, unless the quality
difference is obvious or if there are some differences from the authentic product that they can tell upon their
inspection.”); Mr. Fenton admitted it is fair to say “some customers wouldn’t know the difference between a genuine
product and a counterfeit product”. Deposition of Jacob Fenton (StockX VP of Customer Experience and Insights),
December 2, 2022: pp. 83:21-84:7, 140:5-143:8; StockX’s internal presentation also states that “buyers depend on
StockX to ensure that every product they get is authentic” StockX eLT Meeting Presentation: STX0039423-473 (at
440).
88
   Big Facts Current Culture Index 2023, STOCKX (Jan. 2023), https://stockx.com/about/sx-market-insights/big-
facts-current-culture-index-2023/
89
   Big Facts Current Culture Index 2022, STOCKX (Jan. 2022), https://stockx.com/about/sx-market-insights/current-
culture-index-22/

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         18
     Case 1:22-cv-00983-VEC              Document 300-50
                                                  257-50            Filed 11/05/24
                                                                          08/08/24         Page 21 of 62




           Nike Dunk, Air Force 1, and Air Jordan 4.90 Additionally, Nike and Jordan branded
           sneakers sell at the highest average premium above retail price on StockX’s platform.91

     43.   StockX also promotes pre-releases of Nike and Air Jordan sneakers on its website.92 This
           means that consumers could bid on Nike sneakers on StockX’s platform before Nike
           releases the sneaker to the general public. StockX also touts its platform as providing
           “never out of stock” Nike sneakers around holiday time that “often aren’t stocked on the
           shelves of traditional retailers” due to “supply chain challenges” or selling out.93

     44.   Overall, as summarized in Table 3 below, approximately                    StockX’s total company
           revenue is earned in connection with the resale of Nike and Jordan branded products.
           Further, approximately          StockX’s total company revenue is earned in connection with
           the resale of Nike and Jordan branded sneakers limited to those trades where at least one
           side of the trade originated in the United States.




90
   Big Facts Current Culture Index 2022, STOCKX (Jan. 2022), https://stockx.com/about/sx-market-insights/current-
culture-index-22/
91
   Felix Richter, Outside the Box: The Booming Secondary Sneaker Market, STATISTA (Mar. 2, 2021),
https://www.statista.com/chart/24313/stockx-gross-merchandise-volume/.
92
   STOCKX, https://stockx.com/nike/release-date (last visited May 5, 2023); STOCKX, https://stockx.com/retro-
jordans/release-date (last visited May 5, 2023).
93
   StockX Reports Record-Breaking Visitors and Trades on Black Friday Powering a Blockbuster Cyber Weekend,
STOCKX (Nov. 30, 2021), https://stockx.com/about/stockx-cyber-weekend-2021/
94
   Attachment 4.U.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                       19
     Case 1:22-cv-00983-VEC                Document 300-50
                                                    257-50             Filed 11/05/24
                                                                             08/08/24         Page 22 of 62




IV.        OPINIONS

     45.   In this matter, I understand that Nike is seeking to recover StockX’s profits as provided
           in 15 U.S.C. § 1117 under its false advertising cause of action. I understand that the
           Lanham Act governs the award of monetary relief for false advertising.95 15 U.S.C. §
           1117(a) states: “the plaintiff shall be entitled, subject to the provisions of sections 1111
           and 1114 of this title, and subject to the principles of equity, to recover (1) defendant’s
           profits, (2) any damages sustained by the plaintiff, and (3) the costs of the action… In
           assessing profits the plaintiff shall be required to prove defendant’s sales only; defendant
           must prove all elements of cost or deduction claimed.”96

     46.   As described in detail below, StockX generated                                         in revenue from
           trades of Nike and Jordan branded sneakers where at least one side of the trade included
           a U.S. individual.97 I understand that after identifying the                                            of
           revenue at issue, the burden shifts to StockX to prove claimed elements of costs or other
           deductions. Nonetheless, for the purposes of my analysis, I deducted                                    of
           StockX “cost of revenues” to calculate gross profits related to StockX’s falsely advertised
           sales of “100% Authentic” Nike/Jordan-branded goods. After deducting StockX’s cost
           of revenues from revenue, StockX generated                                   in gross profit over the
           Relevant Period from facilitating resale trades of Nike and Jordan branded sneakers where
           at least one side of the trade included a U.S. individual.

     47.   I understand that StockX may claim that some or all categories of indirect or overhead
           expenses should also be deducted from revenue to calculate disgorgement. While I
           reserve the right to supplement my opinion after reviewing the analysis and justification
           for any additional cost deductions StockX asserts, I believe it is inappropriate to deduct
           many of StockX’s overhead expense categories, some of which are identified below.




95
   I understand false advertising is an actionable civil claim under Section 43(a) of the Lanham Act (15 U.S. Code §
1125); 15 U.S. Code § 1117.
96
   15 U.S.C. § 1117(a).
97
   I reserve the right to supplement my opinion should StockX present a different calculation of revenues attributable
to its false advertising.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         20
     Case 1:22-cv-00983-VEC                 Document 300-50
                                                     257-50               Filed 11/05/24
                                                                                08/08/24          Page 23 of 62




           A.     Disgorging StockX’s Profits
     48.    I understand that in a false advertising case, disgorgement of profits may be based on any
            one of the following rationales: (1) deterrence of future unlawful conduct; (2) prevention
            of the wrongdoer’s unjust enrichment; or (3) compensation to Plaintiff for harm suffered
            as a result of the false advertising.98

     49.    I understand that disgorgement of a defendant’s full profits is an appropriate remedy to
            protect the public at large, even in the absence of a plaintiff’s cognizable injury.99 I further
            understand from counsel that the parties may dispute whether and when StockX stopped
            making false and misleading statements. As addressed above, StockX’s business is built
            around product authentication.              Through StockX’s advertising statements about
            authentication, StockX marketed itself as an alternative to other “retailers” that may have
            sold out of Nike sneakers, promising consumers that the Nike products purchased through
            StockX would be genuine, authentic Nike shoes.100 During the Relevant Period, StockX
            gained a leading market position in the secondary market.101

     50.    Assuming that StockX’s advertising claims about its authentication were false, and
            StockX authenticated and facilitated the sale of counterfeit Nike/Jordan-branded



98
   E. Mishan & Sons, Inc. v. Novel Brands LLC, No. 18-cv-2932, 2020 WL 9815178 at *3 (S.D.N.Y. Feb. 13, 2020),
report and recommendation adopted, 2022 WL 407393 (S.D.N.Y. Feb. 10, 2022).
99
   Dependable Sales & Serv., Inc. v. TrueCar, Inc., 377 F. Supp. 3d 337, 342 (S.D.N.Y. 2019), on reconsideration,
394 F. Supp. 3d 368 (S.D.N.Y. 2019) (citing George Basch Co. v. Blue Coral, Inc., 968 F.2d 1532, 1537 (2d Cir.
1992) and W.E. Bassett Co. v. Revlon, Inc., 435 F.2d 656, 664.) [“In W.E. Bassett Co. v. Revlon, Inc., 435 F.2d 656,
664 (2d Cir. 1970), plaintiff did not establish at trial that the defendant's trademark infringement resulted in lost
sales or injury to good will. Despite no showing of injury, the district court ordered a partial accounting of
defendant's profits based on the conclusion that defendant deliberately and fraudulently infringed the plaintiff's
mark…The Second Circuit affirmed the remedy but modified it to direct an accounting of all profits, explaining that
‘a full accounting is proper as a deterrent’ and that ‘the only way the courts can fashion a strong enough deterrent is
to see to it that a company found guilty of willful infringement shall lose all its profits from its use of the infringing
mark.’
In George Basch, the Second Circuit summarized W.E. Bassett as ordering an accounting of full profits to advance
deterrence ‘solely because’ the defendant acted deliberately and fraudulently.”]; Merck Eprova AG v. Gnosis S.p.A.,
760 F.3d 247, 262 (2d Cir. 2014). [“Our precedent permits a district court to award a defendant's full profits based
solely on deterrence.”].
100
    How it Works – StockX: NIKE0038817-821 (at 818) (“Whether it’s pre-release, regionally limited, or ‘sold out’
– our millions of customers from over 200 countries allow you to easily secure those hard-to-find, coveted items”).
101
    StockX May 2021 Meeting: STX0020994 - 1141 (at 005-007); Taking Stock Of StockX: “Deep Dive Into
The Sneaker Resale Market Leader”, Wells Fargo, January 27, 2020: p. 1-2; Sneakers as an Alternate Asset Class,
Part III, Cowen, May 24, 2022: p. 22.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                           21
      Case 1:22-cv-00983-VEC               Document 300-50
                                                    257-50              Filed 11/05/24
                                                                              08/08/24         Page 24 of 62




            sneakers, StockX’s false advertising claims directly harm Nike’s valuable brands and the
            significant goodwill Nike has amassed in those brands.102

      51.   For example, StockX’s sale of counterfeit “Nike” products places products into the
            marketplace bearing Nike’s name and brands that are not Nike’s products. None of these
            products were manufactured by Nike or subjected to Nike’s quality control and
            production standards. I understand that counterfeiters make counterfeit shoes with low
            quality, and often harmful materials which may be hazardous to consumers and likely to
            underperform.103 As addressed above, some consumers who are sold counterfeit “Nike”
            shoes may never learn that their shoes are counterfeit. Nevertheless, when inferior
            counterfeit goods perform poorly, the consumer may associate that poor performance with
            Nike.104

      52.   These experiences with counterfeit Nike products reflect poorly on Nike and are likely to
            result in lost sneaker sales to Nike.105 I understand that when a customer believes that it
            has received a poor quality product, the reputational injury is likely to impact the
            customer’s perception about Nike as a brand, and therefore the injury is not isolated to
            one product or even product category.106 For example, Ms. Delli Carpini explained,




102
    Deposition of Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement), January
10, 2023: pp. 30:10-33:6, 239:7-271:4 (discussing the harm Nike experiences, both financially and to its reputation,
through the sale of counterfeits); Kammel Report: pp. 13-15 (e.g. “Trademark counterfeiting harms an IP rights
holder in several ways by (1) hurting its reputation in the marketplace and destroying consumers’ trust in the brand,
(2) taking sales and profits of genuine product away and diverting them to the counterfeiter, and (3) taking resources
to combat the theft of its marks.”).
103
    Kammel Report: pp. 13, 16; Deposition of Barbara Delli Carpini (Nike VP of Global Brand Protection and
Digital IP Enforcement), January 10, 2023: pp. 31:11-32:9, 239:7-245:24, 264:10-265:12.
104
    Kammel Report: p. 13, 15 (describing that when a consumer “purchases a product online that they believe to be
genuine and then is disappointed or harmed by a counterfeit product, they may often: (1) believe that the brand’s
quality is lessened; (2) lose their brand loyalty; and/or (3) complain in an online space about the brand”); Deposition
of Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement), January 10, 2023: pp.
32:2-17, 239:7-245:24, 264:10-265:12.
105
    Innovation Ventures, LLC v. Ultimate One Distrib. Corp., 176 F. Supp. 3d 137, 162 (E.D.N.Y. 2016) (finding
consumers who purchased counterfeit products believing them to be authentic represent lost sales to the brand)
(Clear Channel Outdoor, Inc. v. City of New York , 594 F.3d 94, 111 (2d Cir.2010)); Kammel Report: pp.13-17;
Deposition of Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement), January 10,
2023: pp. 31:11-33:6, 239:7-245:24, 264:10-265:12.
106
    Kammel Report: pp. 13, 15.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                          22
      Case 1:22-cv-00983-VEC               Document 300-50
                                                    257-50              Filed 11/05/24
                                                                              08/08/24         Page 25 of 62




                       107
                             I further understand that
                                                                             108
                                                                                   While such reputational injury
            is difficult to quantify, it impacts Nike’s business.

      53.   Consumers have contacted Nike questioning the quality of the guaranteed authentic
            “Nike” sneakers purchased from StockX.109 These complaints suggest that StockX’s
            guarantee that consumers will receive a “100% Verified Authentic” good creates
            confusion that Nike is associated with the authenticity claim and the counterfeit goods.

      54.   Furthermore, Nike expends considerable resources combatting counterfeits,
                                                                                    110
                                                                                          For example, Nike has a

107
   See Deposition of Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement),
January 10, 2023: p. 242:6-13, see also p. 264:10-17


108
    Kammel Report: pp.14-15.
109
    See, for example, complaints to Nike’s counterfeit@Nike.com email account: NIKE0041218-220 (“I purchased a
pair of the new Oski SB Dunks for my son on stockx for about $200 and I fear they are fake. Out of the box they
looked ok. After 3 times of wearing them they are falling apart in ways that I have not experienced dunks falling
apart.”); NIKE0041221-226 (“Hello, I purchased a pair of shoes from StockX and I was having some concern of
their authenticity. When the shoes arrived I noticed there was extra material left on the shoe from the production
process. I’m not a “collector” by any means but I’ve purchased probably 15 pairs of AJ1 over the years and I’ve
never seen that type of workmanship come from Nike. I wear all the shoes I buy so I wore them for a week or so- no
more than 2 and they seem to be breaking down pretty quick. If they are fake they look really close but some of the
stitching looks sloppier and the leather at the front seems off. Any response or information would be appreciated.”);
NIKE0041233 (“I bought a pair of what I believe is fake Nike AF1 JESTERS XX. The product code is AO1220-
102. I bought them off of a site called 'stockx' and though stockx is supposed to verify authenticity before sending
them off to me I believe that somehow this pair of fakes managed to get past them. I have reached out to them with
an email displaying my concerns on the state of the shoe and how there are some details that seem off to me about
the shoe. They are adamant that the pair that I have received is not a pair of fakes. To add to that, StockX also has a
no-return policy which means that even if they were fakes they would refuse to take them back... obviously this is
problematic of a company and my bank would go right ahead with issuing a chargeback on StockX.”);
NIKE0041262-265 (“Hey i need help , My name is Manuel Mejia and i recently bought some Jordan's from StockX
. I bought a pair of Black Ice 6 Rings and Jordan Dmp 6's. Stock x has told me that the issue that i have with the
sneaker are manufacture issues and it's okay but i have a gut feeling that it's not . The Jordan 6's get sticky on the
sneaker , the height was different , one is more lopsided then the other. There was glue on the Shoelace and the gold
chain to the dog tags never came along with it . The Black Ice 6 rings the jordan symbols are all messed up .”);
NIKE0041300-302 (“I ordered sneakers from stockx and they are fake. It’s 2 completely different shoes. The
stitching on the shoes are wrong the Jordan sign is mad big. The sneakers are very wide. They told me the only way
to get my money back is if I resell the sneakers on they website which is ridiculous because they want me to resell
fake sneakers.”); NIKE0041350-357 (“I have purchase a pair of Jordan 11 cool Gray from StockX quality of the
shoes are questionable and I emailed them about it and was told that Nike allowed this Quality of product to be
released.”)
110
    Kammel Report: pp. 15, 24-26; Discussion with Barbara Delli Carpini (Nike VP of Global Brand Protection and
Digital IP Enforcement).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                          23
      Case 1:22-cv-00983-VEC             Document 300-50
                                                  257-50              Filed 11/05/24
                                                                            08/08/24          Page 26 of 62




            brand protection team,                                                                  dedicated to
            anticounterfeiting activities.111 I understand from Barbara Delli Carpini that



                                                                                        112
                                                                                              Therefore, StockX




                                                                113


      55.   Assuming that StockX’s advertising claims about its authentication were false, and
            StockX authenticated and facilitated the sale of counterfeit Nike/Jordan-branded
            sneakers, my analysis indicates that StockX has benefitted by earning ill-gotten profits
            derived from falsely and/or misleadingly claiming that every “Nike” or “Jordan” good
            sold on its platform was “100% Authentic.”

      56.   If StockX is permitted to retain its profits, it would be unjustly enriched regardless of
            whether StockX’s false advertising diverted sales from Nike and its authorized retailers
            to StockX.114 Representing that it verifies the authenticity of all Nike/Jordan-branded
            sneakers on the StockX Platform, StockX holds itself out as similar to Nike or a Nike
            authorized distributor by representing that it sells genuine Nike sneakers. Further, I
            understand that the Court in this case has held that to “be awarded unjust enrichment
            profits, Nike does not need to establish that StockX’s sales diverted sales from Nike – it
            will be sufficient to show that the StockX sales were ill-gotten.”115




111
    ; Deposition of Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement), January
10, 2023: pp. 25:3-13; 26:15-20, 30:12-19.
112
    Deposition of Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement), January
10, 2023: pp. 221:24-223:19. Discussion with Barbara Delli Carpini (Nike VP of Global Brand Protection and
Digital IP Enforcement).
113
    Discussion with Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement);
Deposition of Barbara Delli Carpini (Nike VP of Global Brand Protection and Digital IP Enforcement), January 10,
2023: pp. 221:11-15, 228:4-229:3.
114
    See Maier Brewing Co. v. Fleischmann Distilling Corp., 390 F.2d 117, 124 (9th Cir. 1968).
115
    Nike, Inc. v. StockX, LLC, No. 22-cv-00983, 2023 WL 144718, at *1 (S.D.N.Y. Jan. 9, 2023).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                       24
    Case 1:22-cv-00983-VEC                Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24         Page 27 of 62




   57.    While I believe that StockX’s news releases and other internal documents indicate that
          potential consumers were purchasing Nike/Jordan branded sneakers from StockX instead
          of purchasing directly from Nike or its authorized retailers (e.g., through StockX tracking
          Nike upcoming sneaker releases and offering a platform where consumers could
          guarantee themselves a sneaker instead of going to retailers116), in my opinion, it would
          be difficult, if not impossible, to determine the portion of StockX’s revenues that result
          in losses to Nike under this rationale.

         B.      StockX Revenue
   58.    As required under 15 U.S.C. § 1117(a), Nike is “required to prove defendant’s sales only.”
          StockX provided documents related to revenue earned on resales of Nike and Jordan
          branded products on its resale platform.117 These revenue amounts are summarized in the
          following section of this Report.

   59.    I understand StockX revenues consist of Buyer Fees, Buyer Shipping Revenue, All-in
          Ask Surplus, Seller Fees, Seller Shipping Revenue, Inventory Sales, Payment Processing,
          and Penalty Fees.118

   60.    StockX produced a spreadsheet titled “StockX Revenue from Jordan Brand, Nike, and
          Nike Vault NFTs Booked to the U.S. Operating Entity.”119 The “Lead” tab of this
          spreadsheet includes a quarterly summary of closed trades and revenues earned by StockX
          from resales of Nike, Jordan, and Nike Vault NFT products for the period Q1 2020
          through Q3 2022.120 The data provided by StockX includes a distinction between “trades
          that include a U.S. individual” and “trades between 2 non-U.S. persons.” Table 4 below



116
    StockX advertises its ability to allow consumers to “easily secure those hard-to-find coveted items” including
“pre-release” products. See How it Works – StockX: NIKE0038817-821 (at 818). StockX also lists Nike and Jordan
products on its website in advance of their release, directing customers to StockX’s platform instead of Nike.
https://stockx.com/nike/release-date; https://stockx.com/retro-jordans/release-date. See also, Kammel Report: p. 15.
117
    See, for example, STX0774395: StockX Identified Closed Trades and Revenues from Sales of Nike and Jordan
Brand Products.
118
    See, for example, StockX September 2021 Board Meeting: STX0583757-897 (at 822); STX0041077 at tab
"Traditional"; Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023:
p. 41:15-24.
119
    STX0774395: StockX Identified Closed Trades and Revenues from Sales of Nike and Jordan Brand Products.
120
    STX0774395: StockX Identified Closed Trades and Revenues from Sales of Nike and Jordan Brand Products at
tab “Lead”.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                        25
      Case 1:22-cv-00983-VEC             Document 300-50
                                                  257-50            Filed 11/05/24
                                                                          08/08/24        Page 28 of 62




            summarizes the revenue from all Jordan Brand and Nike products that included a U.S.
            individual on an annual basis.121




      61.   The sales data produced by StockX (summarized in Table 4 above) contains sales of
            products across all StockX verticals for which Nike and Jordan branded products are
            resold. Specifically, these sales include Nike and Jordan branded: sneakers, apparel,
            accessories, collectibles, trading cards, and “other.”123 I understand that Nike claims
            StockX has made false advertising statements in connection with the sale of Nike and
            Jordan brand sneakers, including that the Nike/Jordan products sold on the StockX
            Platform are “100% Authentic,” “100% Verified Authentic,” or “Verified Authentic,”
            when the sneakers were in fact counterfeit. I am not currently aware of documented
            instances of counterfeit goods where StockX has made these types of statements in
            connection with products in the other verticals (e.g., apparel, accessories, collectibles,
            trading cards, and other).      Therefore, for purposes of this analysis, I have limited
            identification and quantification of StockX’s relevant revenues under 15 U.S.C. § 1117(a)
            to Nike and Jordan brand sneaker revenues.

      62.   Additionally, I understand Nike disgorging StockX profits may be limited to transactions
            where at least one side of the trade (i.e., the buyer or the seller) originated in the United

121
    I have excluded StockX’s identified revenue from Nike Vault NFT’s as I understand that Nike is not pursuing
monetary relief in connection with its claims for trademark infringement and dilution in this case.
122
    Attachment 7; see also, STX0774395: StockX Identified Closed Trades and Revenues from Sales of Nike and
Jordan Brand Products.
123
    STX0774395: StockX Identified Closed Trades and Revenues from Sales of Nike and Jordan Brand Products at
tab “nike_rev_data_q1'20_q3'22”.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                       26
      Case 1:22-cv-00983-VEC               Document 300-50
                                                    257-50             Filed 11/05/24
                                                                             08/08/24         Page 29 of 62




            States. I have further limited identification and quantification of StockX’s relevant
            revenues for profit disgorgement under 15 U.S.C. § 1117(a) to account for only those
            trades that include a U.S. individual as identified by StockX.124

      63.   I understand that StockX also earns All-In-Ask Surplus Fees, but these fees are not
            tracked at a transactional level. In analyzing its alleged profits, StockX allocated these
            fees to revenue on a percentage of Gross Merchandise Value (“GMV”) basis.125
            Consistent with StockX’s All-in-Ask revenue allocation, I have allocated a portion of
            StockX’s Global All-in-Ask revenue to Jordan and Nike sneaker revenues based on the
            GMV from trades of Jordan and Nike sneakers where one side of the trade originated in
            the United States as a percentage of StockX’s Global GMV.126

      64.   Table 5 below summarizes StockX’s relevant revenues for profit disgorgement under 15
            U.S.C. § 1117(a), which contains StockX’s revenue earned on facilitating resale trades of
            Nike and Jordan branded sneakers where at least one side of the trade included a U.S.
            individual, including allocated All-in-Ask revenue.




124
    STX0774395: StockX Identified Closed Trades and Revenues from Sales of Nike and Jordan Brand Products at
tab “nike_rev_data_q1'20_q3'22”. I understand that this “at least 1 side U.S.” identifier is based on the buyer and/or
seller’s billing address. Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February
22, 2023: p. 105:8-20.
125
    STX0774395: StockX Identified Closed Trades and Revenues from Sales of Nike and Jordan Brand Products at
tabs “Lead”, “AIA” and “AIA PIVOT.”
126
    Attachment 7.
127
    Attachment 7.
128
    There is no reported Global All-In-Ask Revenue in StockX financials in 2020. For purposes of this analysis, I
have assumed no All-In-Ask revenue was earned in 2020. STX0774395: StockX Identified Closed Trades and
Revenues from Sales of Nike and Jordan Brand Products at tab “AIA PIVOT.”

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         27
      Case 1:22-cv-00983-VEC              Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24          Page 30 of 62




            C.     StockX Deductible Costs
      65.    As required under 15 U.S.C. § 1117(a), StockX is responsible for proving “all elements
             of cost or deduction claimed” from accused revenue.129 To determine StockX’s profits,
             deductible costs must be subtracted from StockX’s revenue from the sale of accused
             products. In trademark infringement and false advertising matters, I understand that
             defendants “must show a ‘sufficient nexus between each expense claimed and the sales
             of the unlawful goods’ before it may deduct any indirect expenses from its profits.”130 I
             further understand the Second Circuit has held that generally “‘[o]verhead’ which does
             not assist in the production of the infringement should not be credited to the infringer;
             that which does, should be; it is a question of fact in all cases.”131 I understand the court
             “must first ‘determine what overhead expense categories ... are actually implicated by the
             production of the infringing product’, a process that requires a determination whether
             there is ‘a sufficient nexus ... between a category of overhead and the production or sale
             of the infringing product.”’132 The second step is to determine “a fair, accurate, and
             practical method of allocating the implicated overhead to the infringement.”133

      66.    Although I understand proving deductible costs is StockX’s responsibility, I have
             accounted for StockX’s cost of revenues in my analysis. My analysis of StockX’s cost of


129
    15 U.S.C. § 1117(a).
130
    Fendi Adele S.R.L. v. Burlington Coat Factory Warehouse Corp., 642 F.Supp.2d 276 (S.D.N.Y. 2009).
131
    Hamil America Inc. v. GFI, 193 F.3d 92 (1999)
132
    Fendi Adele S.R.L. v. Burlington Coat Factory Warehouse Corp., 642 F.Supp.2d 276 (S.D.N.Y. 2009); Hamil
America Inc. v. GFI, 193 F.3d 92 (2d Cir. 1999). I understand this Court has further instructed that the “Defendant
has the burden of proving by a preponderance of the evidence any costs or expenses to be deducted from its gross
revenue. You may not deduct the costs of goods sold and other direct costs associated with those goods because
defendant can point to no evidence in the record which would differentiate the costs of assertedly infringing goods
from those that are not asserted to be infringing. Also, defendant must demonstrate a sufficient connection between
each claimed overhead expense and the sale of infringing products in order to deduct the expense from its gross
revenues for infringing sales. An item of overhead may be deducted if, but only if you find that the entirety of the
overhead expense is attributable to the infringing goods. If defendant fails to establish any expense by a
preponderance of the evidence, you should not deduct that expense from the gross revenues.” In this instance
“overhead” was defined as “the ongoing costs to operate a business other than the cost of goods sold and other direct
costs associated with those goods. Overhead includes items such as rent, utilities and support staff salaries. If
defendant has proven that an overhead expense applies exclusively to the infringing goods, then you may deduct it
from gross revenues attributable to the infringing goods. If defendant has not so proven, then you may not deduct it
from gross revenues attributable to the infringing goods.” Lexington Furniture Industries, Inc. v. Lexington
Company, AB, 2022 WL 13848274, at *7 (S.D.N.Y Oct. 24, 2022)
133
    Hamil America Inc. v. GFI, 193 F.3d 92 (2d Cir. 1999); Fendi Adele S.R.L. v. Burlington Coat Factory
Warehouse Corp., 642 F.Supp.2d 276 (S.D.N.Y. 2009).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         28
      Case 1:22-cv-00983-VEC           Document 300-50
                                                257-50           Filed 11/05/24
                                                                       08/08/24        Page 31 of 62




            revenues is based on analysis of StockX’s financial documents, business presentations,
            the nature of the costs incurred, and the deposition testimony of Mr. Brock Huber,
            StockX’s VP of Corporate and Strategic Development. If StockX provides additional
            information about its costs, or asserts that additional costs are properly deductible, I
            reserve the right respond to such information and assertions.

      67.   I understand StockX does not track costs at a brand or product level.134 In this matter,
            StockX has produced quarterly profit and loss statements for each of its operating entities,
            both individually and as a consolidated entity, from Q1 2020 through Q3 2022.135
            Attachment 8.U summarizes StockX’s total consolidated quarterly operating financial
            results from Q1 2020 through Q3 2022. In the section below, I describe the cost of
            revenues that facilitated the resale of the Nike and Jordan branded sneaker products at
            issue, as well as the method of assigning these costs to StockX’s revenue earned on resale
            trades of Nike and Jordan branded sneakers where at least one side of the trade included
            a U.S. individual.

                  1.      StockX Cost of Revenues
      68.   The StockX quarterly operating entity profit and loss statements contain a line item for
            “Cost of Revenues” which are deducted to arrive at gross profit.136 I understand that
            StockX’s cost of revenues includes at least the following types of costs: (1) Shipping
            Expense (net of rebates); (2) Payment Processing Expense; (3) Cost of Inventory; (4)
            Shipping Supplies; (5) Web Hosting; and (5) Inventory and Transactional Losses.137
            These cost of revenues are direct costs that assisted in earning the resale revenue for the
            Nike and Jordan branded sneaker products at issue.


134
    STX0774395: StockX Identified Closed Trades and Revenues from Sales of Nike and Jordan Brand Products at
tab “Lead”; Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023:
p. 128:1-13.
135
    StockX Operating Entity 2020 Quarterly P&L’s: STX0774394; StockX Operating Entity 2021-2022 Quarterly
P&L’s: STX0806052.
136
    StockX Operating Entity 2020 Quarterly P&L’s: STX0774394; StockX Operating Entity 2021-2022 Quarterly
P&L’s: STX0806052.
137
    See, for example, StockX September 2021 Board Meeting: STX0583757-897 (at 825); StockX November 2021
Board Meeting: STX0594173-465 at (203-206); StockX February 2022 Board Meeting: STX0090109-240 (at 151 –
155); Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp.
44:17 - 45:6.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                    29
      Case 1:22-cv-00983-VEC              Document 300-50
                                                   257-50             Filed 11/05/24
                                                                            08/08/24          Page 32 of 62




      69.   I understand that StockX allocates costs on a per-trade basis (as opposed to a percentage
            of revenue).138 For purposes of this analysis, I have utilized StockX’s per-trade allocation
            methodology and calculated cost of revenues on a per-trade basis.139 As summarized on
            Attachment 8.U, StockX’s total consolidated cost of revenues ranged from
                   per-trade between Q1 2020 and Q1 2022.140

      70.   On Attachment 6.U, StockX cost of revenues have been calculated on a quarterly, per-
            trade basis for StockX’s revenue earned on resale trades of Nike and Jordan branded
            sneakers where at least one side of the trade included a U.S. individual. Table 6 below
            summarizes StockX’s gross profit earned on StockX’s revenue from resale trades of Nike
            and Jordan branded sneakers where at least one side of the trade included a U.S.
            individual.




                  2.       Indirect Costs
      71.   As addressed above, I understand that StockX may claim that additional indirect or
            overhead costs should be deducted from its gross profit. I further understand that StockX
            has the burden to justify any such deductions. I recognize that indirect costs might be

138
    STX0774285: StockX Revenue & Operating Losses from Jordan Brand, Nike, and Nike Vault NFTs at tabs
“Summary” and “Global P&L”; Deposition of Brock Huber (StockX VP of Corporate and Strategic Development),
February 22, 2023: pp. 128:1-13, 131:23 – 133:8.
139
    To calculate cost of revenues on a per-trade basis, I rely on quarterly revenue reported in StockX’s total
consolidated quarterly profit and loss statements from Q1 2020 through Q3 2022. StockX Operating Entity 2020
Quarterly P&L’s: STX0774394; StockX Operating Entity 2021-2022 Quarterly P&L’s: STX0806052. I rely on data
for StockX global closed trades for Q1 - Q2 2020 from StockX May 2021 Meeting: STX0020994 - 1141 (at 1138);
and global closed trades for Q3 2020 - Q1 2022 from STX0774285: StockX Revenue & Operating Losses from
Jordan Brand, Nike, and Nike Vault NFTs at tab “Global P&L”
140
    Total global trades were not available to calculate StockX total consolidated cost of revenue per-trade for Q2-Q3
2022. Therefore, I have held Q1 2022 cost of revenues per trade constant for Q2-Q3 2022. Attachment 6.U,
Attachment 8.U.
141
    Attachment 5.U.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                         30
      Case 1:22-cv-00983-VEC             Document 300-50
                                                  257-50            Filed 11/05/24
                                                                          08/08/24         Page 33 of 62




            deductible, but only where they are actually implicated by the production and sale of the
            products at issue, and that the defendant must demonstrate a direct and valid nexus
            between each claimed overhead expense category and the accused sales. Therefore, I
            understand it is StockX’s burden to separately establish a valid nexus between each
            operating expense line item and the StockX revenues presented in Table 5 above in order
            to deduct the operating expense to calculate StockX’s profits relevant to disgorgement for
            false advertising in this case. I reserve the right to supplement my opinion upon review
            of StockX’s analysis and justification for any such deductions.

      72.   As stated above, on Attachment 8.U I have summarized StockX’s total consolidated
            quarterly operating financial results from Q1 2020 through Q3 2022. The StockX total
            consolidated quarterly profit and loss statements contain operating expenses by
            department and include line items for up to 48 operating expense categories incurred
            during each quarter. I understand StockX’s may assert that all of the operating expense
            department categories are properly deductible to calculate profits relevant to
            disgorgement for false advertising in this case.142

      73.   In the sections below, I describe StockX’s “Contribution Margin – 1” and “Contribution
            Margin – 2” profit levels and the costs deducted in calculating these margins, as well as
            address certain of StockX’s other operating expenses.143

                       a. StockX Contribution Margin – 1
      74.   In the normal course of operating its business, StockX presents quarterly financial
            operating results to its board of directors.            In StockX’s internal board meeting
            presentations, StockX analyzes and presents a level of profitability which it identifies as
            “Contribution Margin – 1.”144 According to Mr. Huber, “Contribution margin is a
            measure of the unit economics of a transaction. To get there, you would take revenue,


142
    STX0774285: StockX Revenue & Operating Losses from Jordan Brand, Nike, and Nike Vault NFTs; Deposition
of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 128, 131:7-133:8.
143
    StockX cost of revenues are subtracted from revenue to calculate gross profit. Additional StockX operating
expenses are subtracted from gross profit to calculate StockX’s Contribution Margin – 1 and Contribution Margin –
2 profit levels.
144
    See, for example, StockX September 2021 Board Meeting: STX0583757-897 (at 818); StockX November 2021
Board Meeting: STX0594173-465 at (205); StockX February 2022 Board Meeting: STX0090109-240 (at 153).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                       31
      Case 1:22-cv-00983-VEC             Document 300-50
                                                  257-50            Filed 11/05/24
                                                                          08/08/24        Page 34 of 62




            subtract cost of revenue, and any other variable expenses and variable marketing expenses
            that would have been directly attributed to that transaction in order for it to be closed or
            completed.”145 Mr. Huber further explained, “contribution margin would have the burden
            of variable and fixed customer service and authentication costs; and depending on which
            view of contribution margin, the marketing costs associated with driving that transaction
            as well.”146

      75.   As stated above, on Attachment 8.U I have summarized StockX’s total consolidated
            quarterly operating financial results from Q1 2020 through Q3 2022. The StockX total
            consolidated quarterly profit and loss statements contain operating expenses by
            department and include line items corresponding to each of the expense items deducted
            by StockX to calculate Contribution Margin – 1. Based on Mr. Huber’s testimony and
            StockX’s internal board meeting presentations, I understand the following line items on
            StockX’s total consolidated quarterly profit and loss statements would be deducted to
            determine Contribution Margin – 1: (1) Cost of Revenues; (2) Authentication; (3) VAT
            Tax; (4) Chargebacks & Refunds; (5) Customs & Duties; (6) Fixed Customer Service; (7)
            Tax; and (8) Variable Customer Service.147

      76.   I understand that StockX uses Contribution Margin – 1 to “get a view of the health of our
            per-trade economics.”148 With respect to Contribution Margin – 1, Mr. Huber testified,
            “When a transaction is completed, does the -- do the expenses associated with actually
            delivering that transaction leave us with money or with a loss?”149 Mr. Huber further
            described that StockX uses Contribution Margin – 1 “to manage the business, to make it
            more likely that you would eventually have a profit.
                                                            we use per-unit economics to show that the

145
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: p. 89:2 - 9.
146
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 89:22
– 90:3.
147
    See, for example, StockX September 2021 Board Meeting: STX0583757-897 (at 818); StockX November 2021
Board Meeting: STX0594173-465 at (205); StockX February 2022 Board Meeting: STX0090109-240 (at 153);
Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 89:22-
90:3, 93:21-94:9.
148
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: p. 95:11-
16.
149
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: p. 95:18-
20.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                       32
      Case 1:22-cv-00983-VEC            Document 300-50
                                                 257-50            Filed 11/05/24
                                                                         08/08/24        Page 35 of 62




            business has strength,
                         ”150

                        b. StockX Contribution Margin – 2
      77.   Similar to Contribution Margin – 1, in the normal course of operating its business, StockX
            analyzes and presents to its board of directors a level of profitability identified as
            “Contribution Margin – 2.”151 I understand from Mr. Huber that the difference between
            Contribution Margin – 1 and Contribution Margin – 2 is that “Contribution Margin – 2
            includes the burden of the ‘Variable Marketing Expenses’ associated with the transactions
            for that period.”152

      78.   As stated above, on Attachment 8.U I have summarized StockX’s total consolidated
            quarterly operating financial results from Q1 2020 through Q3 2022. The StockX total
            consolidated quarterly profit and loss statements contain operating expenses by
            department and include line items corresponding to each of the expense items deducted
            to calculate Contribution Margin – 2. Based on Mr. Huber’s testimony and StockX’s
            internal board meeting presentations, I understand the following line items on StockX’s
            total consolidated quarterly profit and loss statements would be deducted to determine
            Contribution Margin – 2: (1) All expenses deducted in arriving at Contribution Margin –
            1; and (2) all Marketing expenses.153 However, Mr. Huber stated that the ‘Variable
            Marketing Expenses’ deducted to arrive at Contribution Margin – 2 should “not include
            the actual comp and benefits of the marketing team themselves.”154




150
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: p. 96: 7-
11.
151
    See, for example, StockX September 2021 Board Meeting: STX0583757-897 (at 818); StockX November 2021
Board Meeting: STX0594173-465 at (205); StockX February 2022 Board Meeting: STX0090109-240 (at 153).
152
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: p. 97:10-
15.
153
    See, for example, StockX September 2021 Board Meeting: STX0583757-897 (at 818); StockX November 2021
Board Meeting: STX0594173-465 at (205); StockX February 2022 Board Meeting: STX0090109-240 (at 153); Mr.
Huber stated, “the primary line item would be Buyer Marketing.” Deposition of Brock Huber (StockX VP of
Corporate and Strategic Development), February 22, 2023: pp. 89:22-90:3, 97:7-98:23.
154
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 97:21-
98:4.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                      33
      Case 1:22-cv-00983-VEC            Document 300-50
                                                 257-50            Filed 11/05/24
                                                                         08/08/24        Page 36 of 62




                       c. Other StockX Operating Expenses
      79.   As summarized on Attachment 8.U, StockX incurs costs across a variety of other
            operating expense departments beyond those specifically deducted in calculating
            Contribution Margin – 1 and Contribution Margin – 2. I understand that StockX may
            claim that the below operating expense line items, among others, are deductible costs.
            These costs, however, would not be deductible, in whole or in part, for the following
            reasons:

                             Finance Expenses: Includes costs related to a potential IPO,
                              additional IPO-related costs captured in “Internal Audit”,
                              “Legal” and “Tax” expense line items – not related to
                              authentication.155

                             Legal Expenses: Includes items such as advising internal
                              executives on risks associated with business plans, IPO
                              consideration and defending against litigation – including
                              paying StockX’s lawyers for this lawsuit.156

                             Communications Expenses: Includes expenses associated with
                              a team that crafts PR strategy and narrative, including related
                              to this lawsuit.157

                             Supply Acquisition Expenses: Includes finding and increasing
                              StockX’s supply of goods on the platform, and is primarily
                              focused on categories other than sneakers.158

                             Facilities: Includes the rent or ownership expenses for the
                              corporate headquarters, authentication facilities, office space,
                              retail stores, and other associated real estate – including utility
                              costs.159


155
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 77:22-
78:12.
156
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 80:11-
81:22.
157
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: p. 74:4-13.
158
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: pp. 84:15-
86:18.
159
    Deposition of Brock Huber (StockX VP of Corporate and Strategic Development), February 22, 2023: p. 77:2-21.

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                      34
       Case 1:22-cv-00983-VEC           Document 300-50
                                                 257-50         Filed 11/05/24
                                                                      08/08/24      Page 37 of 62




      80.    Attachment 8.U summarizes the dollar amounts StockX incurred related to each of these
             cost categories, as well as other cost categories, from Q1 2020 through Q3 2022.

            D.      Summary of StockX Gross Profits
      81.    After deducting the cost of revenues that are reasonably implicated in facilitating the
             resale of Nike and Jordan branded sneakers where at least one side of the trade included
             a U.S. individual, StockX earned gross profits of approximately                   on sales
             of these products between Q1 2020 and Q3 2022.




            E.      Other Deductions
      82.    If StockX claims any other deductions from accused revenue are proper, I reserve the
             right respond to such positions.

            F.      Counterfeit Damages
      83.    I understand that Nike is electing to recover statutory damages on its claim for
             counterfeiting under 15 U.S.C. § 1114.161 Section 1117(c) of the Lanham Act provides
             that “[i]n a case involving the use of a counterfeit mark…plaintiff may elect, at any time
             before final judgment is rendered by the trial court, to recover, instead of actual damages
             and profits…an award of statutory damages…in the amount of (1) not less than $1,000 or
             more than $200,000 per counterfeit mark per type of goods or services offered for sale,
             or distributed, as the court considers just; or (2) if the court finds that the use of the
             counterfeit mark was willful, not more than $2,000,000 per counterfeit mark per type of


160
      Attachment 5.U.
161
      15 U.S.C. § 1117(c).

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                    35
       Case 1:22-cv-00983-VEC              Document 300-50
                                                    257-50           Filed 11/05/24
                                                                           08/08/24        Page 38 of 62




             goods or services sold, offered for sale, or distributed, as the court considers just.” I
             understand that in the Second Circuit, the Court may consider a set of equitable factors in
             determining an appropriate statutory award.162

      84.    As identified above, I understand Nike asserts that StockX has used nine counterfeit Nike
             trademarks in connection with footwear it “authenticated” and sold on its platform. I have
             been asked to calculate potential statutory damage amounts below.

      85.    As summarized in Table 8 below, if the finder of fact determines that StockX’s use of
             nine counterfeit Nike trademarks was willful, I understand Nike is entitled to recover a
             maximum award of $18 million dollars in statutory damages, in addition to the
             disgorgement of StockX’s profits for StockX’s false advertising, as the fact finder deems
             just.

                                Table 8: Summary of Statutory Damages
                                         Willful Counterfeiting
                             A                     B             C=AxB
                                               Statutory
                     No. of Nike Marks                           Statutory
                                             Damages per
                      Counterfeited                              Damages
                                           Counterfeit Mark
                              9                $2,000,000       $18,000,000

      86.    As summarized in Table 9 below, if the finder of fact does not determine that StockX’s
             use of nine counterfeit Nike trademarks was willful, I understand Nike is entitled to
             recover a maximum award of $1.8 million dollars in statutory damages, in addition to the
             disgorgement of StockX’s profits for StockX’s false advertising, as the fact finder deems
             just.

                                Table 9: Summary of Statutory Damages
                                      Non-Willful Counterfeiting
                             A                    B              C=AxB
                                              Statutory
                     No. of Nike Marks                           Statutory
                                             Damages per
                      Counterfeited                               Damages
                                           Counterfeit Mark
                              9               $200,000           $1,800,000



162
      All-Star Marketing Group, LLC v. Media Brands Co., Ltd., 775 F.Supp.2d 613, 622 (2011)

HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                        36
  Case 1:22-cv-00983-VEC           Document 300-50
                                            257-50        Filed 11/05/24
                                                                08/08/24      Page 39 of 62




       G.     Pre-Judgment Interest
 87.    I understand that Nike may be entitled to pre-judgment interest. Accordingly, I may be
        asked to provide opinions related to pre-judgment interest as directed by the Court. For
        example, I may provide opinions as to the appropriate interest rate and methodology used
        to calculate pre-judgment interest. I reserve the right to provide such opinions before or
        at trial, as necessary.




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                               37
      Case 1:22-cv-00983-VEC                 Document 300-50
                                                      257-50          Filed 11/05/24
                                                                            08/08/24        Page 40 of 62




                                                                                                     Attachment 1


                                           John L. Hansen, CPA, CFF, CLP, CGMA

                                           Mr. Hansen is a Partner with over 30 years of experience providing
TM Financial Forensics, LLC                business, financial and damages consulting to individuals, business
An HKA Company
3595 Mt. Diablo Blvd, Suite 250
                                           entities and counsel. Mr. Hansen is a Certified Public Accountant
Lafayette, CA 94549                        licensed in the State of California, Certified in Financial Forensics, a
                                           Certified Licensing Professional and a Chartered Global Management
Direct: 415.692.6373
Mobile: 415.465.2325                       Accountant. Mr. Hansen focuses on commercial damages, intellectual
JHansen@TMFin.com                          property, class action, forensic accounting, and valuation matters. Mr.
                                           Hansen has analyzed and addressed claims for lost profits, price erosion,
                                           reasonable royalties, unjust enrichment, increased costs and diminution
Professional History                       of asset and business value in a variety of circumstances and industries.
 HKA (2022 – present) - Partner           He has also assisted clients with the valuation and licensing of
 TM Financial Forensics, LLC (2010 –      intellectual property. Mr. Hansen has testified as an expert on damages
  2022) – Vice President                   and economic issues in deposition, trial and arbitration in State Courts,
 Navigant Consulting (2004 – 2010) –
  Director
                                           Federal Courts and in the International Trade Commission.
 TUCKER ALAN INC. (1994 – 2004) – Vice
  President
 Peterson Consulting (1989 - 1994) –      PROFESSIONAL EXPERIENCE
  Executive Consultant
                                           Intellectual Property
Education                                  Analyzed the financial and economic impacts due to alleged intellectual
 Santa Clara University, Bachelor of
                                           property infringement and misappropriation including patents,
  Science in Commerce, Degree in
  Finance and a minor in Economics         trademarks, copyrights, trade secrets, trade dress and rights of publicity.
  1989 – Cum Laude                         Evaluated the appropriate measure of damages including lost profits, price
 Beta Gamma Sigma                         erosion, reasonable royalties, and disgorgement of defendants’ gains.
 Financial Executives Institute’s Top
  Finance Student Scholarship              Evaluated and prepared claims for lost profits related to lost sales, price
                                           erosion and convoyed sales, as well as unjust enrichment. Evaluated and
Professional Associations and              analyzed market size and potential, market share, head-start periods,
Certifications                             competition, product features and functionality, available alternatives,
 Advisory Board, Leavey School of         customer demand, historical and projected sales, ability to achieve
  Business, Santa Clara University (2016
  – present)
                                           projected sales, company and product profitability, nature of costs, cost
 Certified Public Accountant, State of    allocations and product pricing issues. Analyzed manufacturing capacity,
  California, License No. 94883            sales and distribution channels and capacity, customer relationships and
 Certified in Financial Forensics         capital expenditures required to bring products to market.
 Certified Licensing Professional
 Chartered Global Management         Determined and evaluated reasonable royalties and the hypothetical
  Accountant                          negotiation of license agreements. Analyzed cost saving and enhanced
                                      earnings related to licensing technology, licensing history, comparable
license agreements, design-around considerations, apportionment of profits, appropriate royalty base and
avoided product development costs. Analyzed industry standards, patent pools and establishing royalty rates
for standard essential patents. Investigated licensing and royalty disputes, including the level of reported sales
and underpayment of royalties, guaranteed minimums, deductions from revenue and efforts to commercialize
patent portfolios.




                                                                                                           Page 1
    Case 1:22-cv-00983-VEC              Document 300-50
                                                 257-50            Filed 11/05/24
                                                                         08/08/24       Page 41 of 62

John L. Hansen, CPA, CFF, CLP, CGMA                                                              Attachment 1

Patent analyses have related to a variety of industries and products, including:
           3D Graphic Accelerators                            Notebook Computer Security
           Agricultural Equipment                             Optical Networking
           Athletic Shoe Cushioning                           Perfect Silicon
           Automotive Diagnostic Equipment                    PET Oxygen Barrier Bottles
           Business Intelligence Software                     Pharmaceutical Products
           Bus Ramps                                          Photonic Integrated Circuits
           Casino Gaming                                      Plug-N-Play Functionality
           Chemical Vapor Deposition                          Polyisoprene Condoms
           Composite Materials                                Power Management ICs
           Computer Audio Chips and Cards                     Printers
           CPU Utilization Management                         Radiotherapy Equipment
           Dental Equipment                                   Sales Configuration Software
           Digital Film                                       Semiconductors
           Digital Rights Management Technology               Set Top Boxes
           Disk Drives and Storage Products                   Smartphones
           DRAM                                               Software
           E-Commerce                                         Sub-Surface Laser Marking
           Educational Toys                                   Tablets
           Electronics                                        Telecommunications Equipment
           FEP Cable Insulation                               Tire Sealants
           Flash Memory                                       Trampoline Enclosures
           Game Consoles                                      Ultrasound Equipment
           Garage Door Openers                                VCRs
           GPS Chip Sets                                      Video Games
           Hard Drive Partitioning                            Video Teleconferencing
           In-Line Skates                                     Voice Recognition Software
           Light-Emitting Diodes                              Wafer Marking Systems
           Liquid Crystal Displays                            Water Purification
           Medical Devices                                    Web Conferencing
           MLC Flash Memory                                   Wi-Fi Functionality
           MOSFETs                                            Wi-Fi Hotspots


Copyright and trade secret analyses have related to a variety of industries and products, including:
           Architectural Designs                              Music Royalties
           Antennas                                           Oncology Test Equipment
           Athletic Shoe Cushioning                           Operating Systems
           ATVs                                               Personal Digital Assistants
           Deodorant                                          Portable Media Players
           Dolls                                              Software Installations
           Educational Programs                               SRAM
           Electronics                                        Treatment Planning Software
           Graphical Flight Simulators                        Videos
           Insurance Brokerages                               Web Conferencing
           Lab Chip Technology                                Web Portals




                                                                                                        Page 2
    Case 1:22-cv-00983-VEC              Document 300-50
                                                 257-50           Filed 11/05/24
                                                                        08/08/24        Page 42 of 62

John L. Hansen, CPA, CFF, CLP, CGMA                                                             Attachment 1

Analyzed lost profits, disgorgement of defendants’ gains, royalties and corrective advertising related to alleged
trademark infringement, false designation of origin, trademark dilution, false advertising and unfair competition
claims. Determined revenue related to the alleged use of trademarks. Analyzed deductible expenses, cost
allocations and the apportionment of profit attributable to factors other than the challenged conduct. Analyzed
trademark license agreements and franchise agreements, as well as determined royalties for trademarks.
Trademark and false advertising analyses have related to a variety of industries and products, including:
           Athletic Shoes                                    Health and Beauty Products
           Banking/Remittance Services                       Kombucha
           Bottled Juice and Water                           Leadership Training
           Cellular Communications                           Legal Services
           Cookie Sticks                                     Licensed Merchandise
           Cookware                                          Nutrition Bars
           Custom Printing                                   Off-Road Vehicles
           Department Stores                                 Online Shopping Apps
           Diesel Engines                                    Professional Sports Franchises
           E-Commerce                                        Semiconductors
           Electronics/Power Supplies                        Software
           Employee Staffing                                 Solar Panels
           Frozen Foods                                      Sports Memorabilia
           Furniture Retailers                               Virtual Reality
           Hair Care                                         Watercraft


Analyzed the value of intellectual property related to its transfer, licensing, and disposition. Consulted with
clients regarding factors influencing licensing opportunities and potential royalty rates, licensing strategy and
licensing positions. Assisted with settlement and licensing negotiations.
Assisted clients with Section 337 investigations in the United States International Trade Commission. Analyzed
domestic industry issues, including the investment in plant and equipment, employment of labor and capital,
and efforts to commercialize and exploit the articles covered by the subject patents. Evaluated the commercial
success of articles covered by the subject patents and analyzed the impact of an exclusion order extending to
downstream products. Addressed remedy issues, such as bonding and inventory levels.
Analyzed the commercial success of products covered by patents in matters pending before the Patent Trial and
Appeal Board.




                                                                                                            Page 3
    Case 1:22-cv-00983-VEC             Document 300-50
                                                257-50           Filed 11/05/24
                                                                       08/08/24       Page 43 of 62

John L. Hansen, CPA, CFF, CLP, CGMA                                                             Attachment 1


Commercial Damages, Valuation and Forensic Accounting
Analyzed the operations, financial condition and profitability of businesses under a variety of circumstances,
including breach of contract, bankruptcy and insolvency, business interruption, lender liability, defective
product, merger and acquisition, business and asset valuation and fraud investigations.
Prepared and analyzed numerous damage studies including analyses of lost profits, lost value and increased
costs. Analyzed actual and projected revenues, market share, competition, industry and market conditions, cost
of goods sold, the nature of costs and cost allocations, as examples. Analyses have related to a variety of
industries and products, including:
           Aloe Vera                                        Luxury Branded Products
           Apparel                                          MoCA Technology
           ATVs                                             OLED Panels
           Biotechnology                                    Online Advertising
           Commercial and Retail Developments               Power Generation
           Computer Assembly                                Printers
           Computer Resellers                               Printing Equipment
           Concessions and Souvenirs                        Real Estate
           Dental Anesthetic                                Restaurants
           Deodorant                                        Retail Merchandising
           Flash Memory                                     Satellite Television
           Footwear                                         Semiconductor Manufacturing
           GPS Chipset Development                          Software Installations
           Hospitality                                      Sports Agents
           Internet of Things Software                      Telecommunication Equipment
           IT Outsourcing                                   Video Teleconferencing

Prepared and analyzed numerous valuations of businesses and business interests, solvency, financial condition,
the viability of continuing operations, company capital structure, trend and ratio analysis, cost of capital and
discount rates. Analyzed comparable companies and transactions, discounted cash flows and valuation
multiples. Valuation analyses have related to a variety of industries and businesses, including:
           Ambulance Services                               Pharmaceutical Products
           Aquaculture                                      Professional Sports Promotion
           Chemical Manufacturing                           Public Utilities
           Database Software                                Refrigerated Bars
           Diamond Coated Capsules                          Semiconductor Manufacturing
           Diesel Engine Technology                         Sporting Goods Retail Outlets
           Flash Memory                                     Surgical and Diagnostic Centers
           Food Processing                                  Television Programming
           Furniture Retailer                               Tire and Retread Operations
           Health and Beauty Products                       Transpacific Shipping
           High Capacity Disk Drives                        Tug Boat Operations
           Independent Power Producers                      VOIP Equipment
           Mineral Water and Juice Bottling                 Web Conferencing

Investigated the comingling of personal and business funds and assets, the personal use of business funds and
the business purpose of expenditures. Analyzed alleged fraudulent conveyances and preferences and
investigated and documented indicia of fraud. Analyzed the flow of funds and assets between entities and
performed detailed tracing of transactions and documentation of their accounting treatment.



                                                                                                         Page 4
    Case 1:22-cv-00983-VEC              Document 300-50
                                                 257-50           Filed 11/05/24
                                                                        08/08/24        Page 44 of 62

John L. Hansen, CPA, CFF, CLP, CGMA                                                             Attachment 1

Class Action, Unfair Competition and Antitrust
Created and analyzed databases to identify potential class members, dissimilarities among potential class
members and evaluation of class representatives. Analyzed if damages may be calculated on a class-wide basis
and evaluated potential class damages. Analyzed product pricing, cost of goods sold and cost allocations,
valuation, and the financial impact of alleged wrongful conduct on consumers. Consulted on projects involving a
variety of industries and circumstances, including:
           Automobile Replacement Parts                      Privacy/Online Advertising
           CD and DVD Distribution                           Professional Athletes
           Dental Supplies                                   Professional Sports Leagues
           Sporting Event Promotion                          State Employee Compensation
           LCD Panels                                        Theater Gift Certificates
           Extended Warranty Coverage                        Kombucha
           Student Tuition and Fees

Insurance and Environmental
Accumulated, analyzed and allocated costs related to environmental investigation and remediation efforts.
Analyzed the nature and classification of expenditures, documented expenses and associated proof of payment,
and evaluated continuing operational costs. Analyzed damages related to loss of use and business interruption
related to environmental contamination. Consulted on environmental projects involving various industries,
including:
           Cement Manufacturing                              Lock and Keyset Manufacturing
           Electronics                                       Port Facilities
           Gun Ranges                                        Refineries
           Lead Shields                                      Semiconductor Manufacturing

Construction and Utility
Analyzed the impact of delays, disruption and acceleration and the associated costs on construction projects.
Investigation, identification and documentation of factors contributing to project schedule impacts and associated
costs. Analyzed project accounting and cost documents including contractor bids, budgets, production and
productivity, general and administrative and jobsite overhead cost pools and allocations, equipment utilization
and rates, materials, labor and changed work. Assessed the financial condition and capitalization of construction
contractors. Analyzed working capital, cash flow, operations of related companies, customers and industry
conditions. Consulted on construction and utility projects, including:
           Airports                                          Manufacturing Facilities
           Apartment Buildings                               Pipelines
           Coal-Fired Cogeneration Plant                     Port Facilities and Container Cranes
           Electric Transmission Facilities                  Pumped Storage Hydroelectric Plant
           High-Rise Condominiums                            Telecommunication Facilities
           Highways and Roads                                Waste Water Treatment Plant
           Hotels                                            Wind Farms

Analyzed utility ratemaking and cost of providing service. Analyzed regulatory policies and the resulting
contracts with qualifying facilities in California. Reviewed the development of California’s standard offer power
purchase contracts. Evaluated ratepayer impact of long term fixed price contracts and the impact of transmission
constraints on a utility’s ability to accept qualifying facility power. Analyzed project viability for alternative
energy projects related to the specifics of each project.




                                                                                                           Page 5
    Case 1:22-cv-00983-VEC               Document 300-50
                                                  257-50             Filed 11/05/24
                                                                           08/08/24     Page 45 of 62

John L. Hansen, CPA, CFF, CLP, CGMA                                                               Attachment 1


Labor and Employment
Analysis and assessment of class certification and/or damages related to:
            Company Uniform Policy                               Off-the-Clock Work
            Employee Misclassification                           Sales Commission Chargebacks
            Expense Reimbursement                                Standby Pay
            Minimum Wage Violations                              Unpaid Meal and Rest Breaks

Assisted with analysis of class certification issues and identifying potential class members. Developed models to
determine risk exposure and potential damages based on numerous factors, such as employee location, job title
and activities performed. Evaluated employee activity based on available company data including computer,
phone, card swipe, punch card, payroll and employee schedule data. Analyzed economic offsets to potential
damages, including incentive compensation plan payments.
Analyzed and prepared numerous claims related to breach of contract, labor termination, discrimination,
personal injury and wrongful death. These engagements have included economic studies of compensation,
fringe benefits, retirement and pension plans, stock options, personal consumption, appropriate period of loss,
wage escalation and discount rates. Analyzed replacement compensation, including independent consulting
ventures and the value of small businesses.
Analyses have related to a variety of industries, including:
            Accounting                                           Parking Facilities
            Apparel Retail Sales                                 Pharmaceuticals
            Call Centers                                         Produce Packing
            Commercial Fishing                                   Real Estate Development
            Computer Hardware                                    Semiconductors
            Construction                                         Software
            Consumer Goods                                       Telecommunications
            Healthcare                                           Timeshare Sales
            Investment Management                                Television Programming
            Manufactured Homes                                   Transportation
            Oil Refining                                         Video Game Development
            Package Delivery                                     Wine and Spirits
            Paper Products                                       Wireless Communications

Performed numerous analyses of labor and related costs and employee cost allocations on commercial damage,
construction, business interruption, valuation and increased cost claims, including analysis of labor burdens,
benefit costs, salary and compensation plans.




                                                                                                          Page 6
    Case 1:22-cv-00983-VEC               Document 300-50
                                                  257-50            Filed 11/05/24
                                                                          08/08/24      Page 46 of 62

John L. Hansen, CPA, CFF, CLP, CGMA                                                                Attachment 1

TESTIMONY
Testimony in deposition or trial in United States District Court:
            Central District of California
            Eastern District of California
            Northern District of California
            Southern District of California
            District of Delaware
            Northern District of Illinois
            District of Massachusetts
            Eastern District of Michigan
            District of Minnesota
            Western District of Missouri
            District of Nevada
            District of New Jersey
            Southern District of New York
            Middle District of North Carolina
            Western District of Pennsylvania
            Eastern District of Texas
            Western District of Texas
            Western District of Washington
Testimony in United States International Trade Commission
Testimony in deposition or trial in Superior Court of the State of California:
            County of Alameda
            County of Los Angeles
            County of Marin
            County of Orange
            County of San Francisco
            County of San Mateo
            County of Santa Clara
Testimony in deposition or trial in State Court:
            Circuit Court of Cook County, Illinois
            Court of Chancery of the State of Delaware
            Superior Court of the State of Arizona in and for the County of Maricopa
            District Court of Collin County, Texas
Declarations and deposition testimony in matters before the Patent Trial and Appeal Board
Testimony in Arbitrations, participation in Mediations and assisted with settlement negotiations


SELECTED SPEAKING ENGAGEMENTS
            Continuing Legal Education: Damages (1996)
            Continuing Legal Education: Understanding And Using Financial Information (1997)
            Stanford University: Financial And Ratio Analysis (1997)
            Stanford University: Financial Statement Analysis Case Study (1998)
            Maritime Industry Personal Injury Damages (1998)



                                                                                                          Page 7
  Case 1:22-cv-00983-VEC            Document 300-50
                                             257-50            Filed 11/05/24
                                                                     08/08/24       Page 47 of 62

John L. Hansen, CPA, CFF, CLP, CGMA                                                          Attachment 1

        Intellectual Property Section of the Sacramento County Bar: Intellectual Property Damages Update
         (1999)
        Intellectual Property Section of the Bar Association of San Francisco: Intellectual Property Damages
         (1999)
        Continuing Legal Education: Accounting And Financial Issues For Lawyers (2001)
        University of California, Hastings College of the Law: Patent Damages (2002)
        Licensing Executives Society Annual Meeting – Chicago: An Update On Patent Damages (2002)
        Stanford University: Financial Statement And Ratio Analysis (2002)
        Santa Clara University School of Law: Patent Damages (2005)
        Licensing Executives Society – Dallas: Recent Developments In Patent Damages (2005)
        Continuing Legal Education, Morgan, Lewis & Bockius LLP: Recent Developments In Patent
         Damages (2005)
        Santa Clara University School of Law: Intellectual Property Litigation – Damages (2006)
        Continuing Legal Education, McDermott Will & Emery: Presenting Patent Damages / Trial Case
         Study (2006)
        Santa Clara University School of Law: Patent Infringement Damages (2007)
        Santa Clara University School of Law: Intellectual Property Litigation – Patent Damages Case Study
         (2007)
        5th Annual Rocky Mountain Intellectual Property & Technology Institute – Denver: Emerging Patent
         Valuation and Damages Issues (2007)
        Santa Clara University School of Law: Patent Infringement Damages (2008)
        Continuing Legal Education, McDermott Will & Emery: Section 337 Investigations in the ITC – Role
         of the Financial/Economic Expert (2008)
        Santa Clara University School of Law: Patent Infringement Damages (2009)
        7th Annual Rocky Mountain Intellectual Property & Technology Institute – Denver: Damages (2009)
        Stanford University: Fundamentals and Analysis of Construction Accounting and Finance (2010)
        San Mateo County Bar Association: Accounting Principles and Tips for Business Lawyers and
         Litigators (2010)
        Stanford University: Valuing Intellectual Property and Intangible Assets (2011)
        The Federal Bar Association – San Diego: Patent Damages Law: Life After Lucent, ResQNet and
         UNILOC (2012)
        Continuing Legal Education, Morgan, Lewis & Bockius LLP: Selecting, Retaining and Working with
         Experts (2013)
        CalCPA Forensic Services Section: Innovatio IP Ventures Patent Litigation and the Potential
         Relevance to Non-FRAND Damages Calculations (2014)
        The McCarthy Institute and Hanson Bridgett: New Paradigms in Patent Monetization and Damages
         (2015)
        Golden Gate University School of Law: Patent Damages (2015)
        Stanford Law School: IP litigation, Patent Damages (2015)
        SFIPLA: Recent Developments in Patent Damages (2015)
        The Bar Association of San Francisco: IP BYTES: Hot Topics in Trademark, Disgorgement of
         Defendants’ Profits (2015)




                                                                                                        Page 8
  Case 1:22-cv-00983-VEC           Document 300-50
                                            257-50           Filed 11/05/24
                                                                   08/08/24       Page 48 of 62

John L. Hansen, CPA, CFF, CLP, CGMA                                                       Attachment 1

        Golden Gate University School of Law: Patent Damages (April 2016)
        Golden Gate University School of Law: Patent Damages (September 2016)
        Stanford University: CEE 244 Accounting, Finance & Valuation for Engineers and Constructors /
         Revenue Recognition, Equipment Costs and Fixed Asset Accounting (November 2018)
        University of California, Hastings College of the Law: Patent Damages (November 2018)
        Stanford University, Saudi Industrial Development Fund Business Management Program: Valuation
         of Companies and Assets (August 2019)
        University of California, Hastings College of the Law: Patent Law (Law 505), Patent Damages
         (November 2019)
        University of California, Hastings College of the Law: Patent Damages (November 2020)
        Golden Gate University School of Law: Patent Damages (April 2021)
        Santa Clara University, Business Law: Intellectual Property Damages (November 2021)
        University of California, Hastings College of the Law: Patent Damages (November 2021)
        USC Gould School of Law 2023 Intellectual Property Institute: Apportionment in Patent Damages
         (March 2023)


PUBLICATIONS
     Hansen, John L., “Appendix A, Damages,” Maritime Personal Injury Defense, March 1999,
     pp. 127-137 (by James R. Walsh and Robert A. Bleicher)




                                                                                                       Page 9
  Case 1:22-cv-00983-VEC             Document 300-50
                                              257-50          Filed 11/05/24
                                                                    08/08/24   Page 49 of 62

John L. Hansen, CPA, CFF, CLP, CGMA
Testimony                                                                            Attachment 2.U


Alacritech, Inc. v. Intel Corporation, et al. United States District     Deposition: May 2023
Court for the Eastern District of Texas

Gabriela Zamora, Sami Hartman, individually an on behalf of all    Deposition: March 2023
others similarly situated v. GT’s Living Foods, LLC Superior Court
of the State of California, for the County of Los Angeles

Oxygenator Water Technologies, Inc. v. Tennant Company United            Deposition: March 2023
States District Court for the District of Minnesota

In re University of Southern California Tuition and Fees COVID-          Deposition: February 2023
19 Refund Litigation United States District Court for the Central
District of California

Mondis Technology Ltd. v. LG Electronics, Inc. and LG Electronics        Trial: February 2023
U.S.A., Inc. United States District Court for the District of New        Trial: April 2019
Jersey                                                                   Hearing: March 2019
                                                                         Deposition: April 2018

Ahern Rentals, Inc. v. EquipmentShare.com Inc, et al. United             Deposition: November 2022
States District Court for the Western District of Missouri (Federal
MDL); District Court of Collin County, Texas (Texas MDL)

ImmerVision, Inc. v. LG Electronics U.S.A., Inc. and LG                  Deposition: June 2022
Electronics, Inc. United States District Court for the District of
Delaware

Ahern Rentals, Inc. v. EquipmentShare.com Inc. and Deral Bonner,         Deposition: June 2022
et al. Superior Court of the State of Arizona in and for the County
of Maricopa

Tortilla Factory, LLC v. GT’s Living Foods, LLC United States            Trial: June 2022
District Court for the Central District of California                    Deposition: September 2019
                                                                         Deposition: May 2019

Palantir Technologies Inc. v. Marc L. Abramowitz United States           Deposition: May 2022
District Court for the Northern District of California

Pegasystems Inc., Plaintiff/Counterclaim Defendant v. Appian             Deposition: April 2022
Corporation, Defendant/Counterclaim Plaintiff and Business
Process Management, Inc., Defendant United States District Court
for the District of Massachusetts


                                                                                           Page 1 of 3
  Case 1:22-cv-00983-VEC           Document 300-50
                                            257-50        Filed 11/05/24
                                                                08/08/24    Page 50 of 62

John L. Hansen, CPA, CFF, CLP, CGMA
Testimony                                                                         Attachment 2.U


Uptown Newport Jamboree, LLC, Plaintiff and Cross-Defendant v.        Deposition: February 2022
Newport Fab, LLC d/b/a Jazz Semiconductor, Defendant and
Cross-Complainant Superior Court of the State of California, for
the County of Orange

Chemours Company FC, LLC v. Daikin Industries, Ltd. and Daikin        Deposition: January 2022
America, Inc. United States District Court for the District of
Delaware

Branch Banking and Trust Company v. Hitachi Vantara                   Deposition: January 2022
Corporation United States District Court for the Middle District of
North Carolina

Asetek Danmark A/S, Plaintiff and Counter-Defendant v. CoolIT         Deposition: January 2022
Systems, Inc., Defendant and Counter-Claimant United States
District Court for the Northern District of California

Thomas A. Shields, et al. v. Fédération Internationale de Natation    Deposition: September 2021
(FINA) United States District Court for the Northern District of
California

Total Recall Technologies v. Palmer Luckey and Facebook               Deposition: August 2021
Technologies, LLC (f/n/a Oculus VR, LLC) United States District       Deposition: November 2020
Court for the Central District of California

Delaney Sharpe, et al., on Behalf of Themselves and all Others        Deposition: July 2021
Similarly Situated v. GTs Living Foods, LLC United States District
Court for the Central District of California

AdTrader, Inc., et al. v. Google LLC United States District Court     Deposition: July 2021
for the Northern District of California

Ahern Rentals, Inc. v. EquipmentShare.com Inc. and Christina          Deposition: February 2021
Gutierrez, et al. Superior Court of the State of Arizona in and for
the County of Maricopa

Freedom Debt Relief, LLC v. Accredited Debt Relief, LLC and           Deposition: August 2020
Accredited Debt Relief, LLC v. Freedom Debt Relief, LLC
Superior Court of the State of California, County of San Mateo

Realtime Adaptive Streaming LLC v. Google LLC and YouTube,            Deposition: October 2019
LLC United States District Court for the Central District of
California

                                                                                        Page 2 of 3
    Case 1:22-cv-00983-VEC            Document 300-50
                                               257-50           Filed 11/05/24
                                                                      08/08/24       Page 51 of 62

John L. Hansen, CPA, CFF, CLP, CGMA
Testimony                                                                                  Attachment 2.U


 Harold H. Robinson v. Jennifer M. Johnson, SilverBelt Investments, Deposition: September 2019
 LLC and SilverBelt Holdings, LLC Superior Court of the State of
 California, County of San Francisco

 GearSource Holdings, LLC v. Google LLC United States District               Deposition: June 2019
 Court for the Northern District of California

 Ezaki Glico Kabushiki Kaisha and Ezaki Glico USA Corporation v.             Deposition: May 2019
 Lotte International America Corp. and Lotte Confectionary Co. Ltd.
 United States District Court for the District of New Jersey

 SIMO Holdings Inc. v. Hong Kong uCloudlink Network Technology               Trial: May 2019
 Limited and uCloudlink (America), Ltd. United States District Court         Deposition: February 2019
 for the Southern District of New York

 Daikin Industries Ltd. and Daikin America, Inc. v. The Chemours             Deposition: April 2019
 Company FC, LLC United States Patent and Trademark Office,
 before the Patent Trial and Appeal Board, Cases: IPR2018-00992 and
 IPR2018-00993

 DealDash Oyj and DealDash Inc. v. ContextLogic Inc. d/b/a Wish              Deposition: April 2019
 United States District Court for the Northern District of California

 Blue Spike LLC, Blue Spike International Ltd., and Wistaria Trading         Deposition: April 2019
 Ltd. v. VIZIO, Inc. United States District Court for the Southern
 District of California


* Italics denote client.
** Mr. Hansen is a licensed CPA in California only. Neither Mr. Hansen nor TM Financial Forensics, LLC, an HKA
Company, provide audit or attest services, in this or any other state.




                                                                                                 Page 3 of 3
        Case 1:22-cv-00983-VEC   Document 300-50
                                          257-50         Filed 11/05/24
                                                               08/08/24   Page 52 of 62

                                   Documents Considered                            Attachment 3.U


                              Beginning Bates       Ending Bates
                               NIKE0000016      -   NIKE0000017
                               NIKE0000281      -   NIKE0000287
                               NIKE0001145      -   NIKE0001194
                               NIKE0006776      -   NIKE0006781
                               NIKE0006785      -   NIKE0006793
                               NIKE0029087      -   NIKE0029087
                               NIKE0038783      -   NIKE0038788
                               NIKE0038792      -   NIKE0038798
                               NIKE0038817      -   NIKE0038821
                               NIKE0038955      -   NIKE0038959
                               NIKE0039436      -   NIKE0039436
                               NIKE0039854      -   NIKE0040006
                               NIKE0041218      -   NIKE0041226
                               NIKE0041233      -   NIKE0041233
                               NIKE0041262      -   NIKE0041265
                               NIKE0041300      -   NIKE0041302
                               NIKE0041350      -   NIKE0041357
                               NIKE0042395      -   NIKE0042397
                               NIKE0081471      -   NIKE0081471
                               STX0014863       -   STX0014921
                               STX0016703       -   STX0016869
                               STX0017326       -   STX0017371
                               STX0018010       -   STX0018014
                               STX0018453       -   STX0018499
                               STX0018799       -   STX0018840
                               STX0020185       -   STX0020188
                               STX0020225       -   STX0020268
                               STX0020523       -   STX0020534
                               STX0020994       -   STX0021141
                               STX0021182       -   STX0021188
                               STX0021364       -   STX0021364
                               STX0021481       -   STX0021498
                               STX0022678       -   STX0022691
                               STX0023881       -   STX0023887
                               STX0038743       -   STX0038751
                               STX0039423       -   STX0039473
                               STX0039585       -   STX0039592
                               STX0040174       -   STX0040191
                               STX0040474       -   STX0040478
                               STX0040935       -   STX0040937
                               STX0041076       -   STX0041077
                               STX0042659       -   STX0042663
                               STX0055272       -   STX0055276
                               STX0056718       -   STX0056718
                               STX0061163       -   STX0061172
HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                         Page 1 of 4
        Case 1:22-cv-00983-VEC   Document 300-50
                                          257-50         Filed 11/05/24
                                                               08/08/24   Page 53 of 62

                                   Documents Considered                            Attachment 3.U


                              Beginning Bates       Ending Bates
                               STX0085640       -   STX0085641
                               STX0085644       -   STX0085646
                               STX0090109       -   STX0090240
                               STX0090493       -   STX0090677
                               STX0091556       -   STX0091567
                               STX0091819       -   STX0091911
                               STX0098851       -   STX0098876
                               STX0125881       -   STX0125932
                               STX0130531       -   STX0130572
                               STX0169544       -   STX0169546
                               STX0191602       -   STX0191604
                               STX0202142       -   STX0202143
                               STX0232285       -   STX0232286
                               STX0484545       -   STX0484545
                               STX0583757       -   STX0583897
                               STX0589430       -   STX0589458
                               STX0592628       -   STX0592636
                               STX0594173       -   STX0594465
                               STX0594887       -   STX0595073
                               STX0680795       -   STX0680837
                               STX0699905       -   STX0699907
                               STX0752605       -   STX0752642
                               STX0774239       -   STX0774239
                               STX0774265       -   STX0774281
                               STX0774283       -   STX0774336
                               STX0774394       -   STX0774395
                               STX0806027       -   STX0806052




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                         Page 2 of 4
                   Case 1:22-cv-00983-VEC                   Document 300-50
                                                                     257-50               Filed 11/05/24
                                                                                                08/08/24           Page 54 of 62

                                                                 Documents Considered                                              Attachment 3.U



Legal Filings                                                                                                                              Date
● StockX LLC's Answer to Complaint                                                                                                      3/31/2022
● Nike Inc. v. StockX LLC, No. 1:22-cv-00983-VEC, Civil Case Management Plan and Scheduling Order Dkt. 25                               4/11/2022
● Plaintiff Nike, Inc.'s First Set of Request for Production of Documents and Things to Defendant StockX LLC                            4/19/2022
● Plaintiff Nike, Inc.'s First Set of Requests for Admission to Defendant StockX LLC                                                    4/29/2022
● Defendant's Objections and Responses to Plaintiff's First Set of Interrogatories                                                      5/18/2022
● Defendant's Objections and Responses to Plaintiff's First Set of Requests for Production                                              5/19/2022
● Nike Inc. v. StockX LLC, No. 1:22-cv-00983-VEC, First Amended Complaint                                                               5/25/2022
● Defendant StockX LLC's Responses and Objections to Plaintiff Nike, Inc.'s First Set of Requests for Admission                         5/31/2022
● Answer to First Amended Complaint Dkt. 41, and Exhibits                                                                                6/6/2022
● Plaintiff Nike, Inc.'s Second Set of Interrogatories to Defendant StockX LLC                                                          6/16/2022
● Plaintiff Nike, Inc.'s Second Set of Requests for Production of Documents and Things to Defendant StockX LLC                          6/16/2022
● Defendant's Objections and Responses to Plaintiff's Second Set of Interrogatories                                                     7/18/2022
● Defendant's Objections and Responses to Plaintiff's Second Set of Requests for Production                                             7/18/2022
● Plaintiff Nike, Inc.'s Third Set of Requests for Production of Documents and Things to Defendant StockX LLC                           7/25/2022
● Defendant's Third Set of Requests for Production                                                                                      8/19/2022
● Defendant's First Supplemental Objections and Responses to Plaintiff's Third Set of Interrogatories                                   3/21/2023
● Plaintiff Nike Inc.'s Supplemental Responses and Objections to Defendant StockX LLC's Third Set of Interrogatories                    4/17/2023
● Nike Inc. v. StockX LLC, No. 1:22-cv-00983-VEC, Order, Dkt 171                                                                        4/26/2023

Expert Reports                                                                                                                             Date
● Expert Report of Kari Kammel, and Exhibits                                                                                             5/5/2023

Depositions                                                                                                                                 Date
● Deposition of Russell Amidon (Senior Director of VIP Relations, StockX) and Exhibits                                                  11/30/2022
● Deposition of Jacob Fenton (Vice President of Customer Experience and Insights, StockX) and Exhibits                                   12/2/2022
● Deposition of Ron Faris (Vice President and General Manager of Nike Virtual Studios, Nike) and Exhibits                                12/7/2022
● Deposition of Heather Paulson (Vice President of Connected Marketplace, Nike) and Exhibits                                              1/6/2023
● Deposition of Barbara Delli Carpini (Vice President for Global Brand Protection and Digital IP Enforcement, Nike) and Exhibits         1/10/2023
● Deposition of Laura Rizza (Former Nike Brand Protection Coordinator) and Exhibits                                                      2/1/2023
● Deposition of Joe Pallett (Director of Authentication and Innovation, Nike) and Exhibits                                               2/8/2023
● Deposition of Roy Ikhyun Kim (Third Party Consumer and Sneaker Collector) and Exhibits                                                 2/8/2023
● Deposition of Brock Huber (Vice President of Corporate and Strategic Development, StockX) and Exhibits                                2/22/2023

Case Law                                                                                                                                   Date
● Maier Brewing Co. v. Fleischmann Distilling Corp. , (9th Cir. 1968)                                                                   2/21/1968
● Hamil America Inc. v. GFI , (1999)                                                                                                    9/29/1999
● All-Star Marketing Group, LLC v. Media Brands Co., Ltd. , (2011)                                                                       1/3/2011
● Fendi Adele S.R.L. v. Burlington Coat Factory Warehouse Corp. , (2012)                                                                 4/2/2012
● Merck Eprova AG v. Gnosis S.p.A ., (S.D.N.Y. 2012)                                                                                    9/30/2012
● Merck Eprova AG v. Gnosis S.p.A ., (2d Cir. 2014)                                                                                     7/29/2014
● Innovation Ventures, LLC v. Ultimate One Distrib. Corp. , (E.D.N.Y. 2016)                                                             3/31/2016
● Dependable Sales & Serv., Inc. v. TrueCar, Inc ., (S.D.N.Y. 2019)                                                                     3/27/2019
● E. Mishan & Sons, Inc. v. Novel Brands LLC , (S.D.N.Y. Feb. 13, 2020)                                                                 2/13/2020
● Nike, Inc. v. StockX, LLC, (S.D.N.Y. Jan. 9, 2023)                                                                                     1/9/2023

Financials                                                                                                                                 Date
● Nike, Inc., Form 10-K for the fiscal year ended May 31, 2022                                                                          5/31/2022

Legal Code                                                                                                                                Date
● 15 U.S.C. § 1114
● 15 U.S.C. § 1117 (a)
● 15 U.S.C. § 1117 (c)
● 15 U.S.C. § 1125




    HIGHLY CONFIDENTIAL –
    OUTSIDE COUNSEL’S EYES ONLY
                                                                       Page 3 of 4
                  Case 1:22-cv-00983-VEC                   Document 300-50
                                                                    257-50              Filed 11/05/24
                                                                                              08/08/24          Page 55 of 62

                                                                Documents Considered                                                Attachment 3.U

Trademarks                                                                                                                                   Date
● United States Patent and Trademark Office Registration No. 977,190: Swoosh Design.                                                      1/22/1974
● United States Patent and Trademark Office Registration No. 978,952: NIKE.                                                               2/19/1974
● United States Patent and Trademark Office Registration No. 1,214,930: NIKE.                                                             11/2/1982
● United States Patent and Trademark Office Registration No. 1,323,343: Swoosh Design.                                                     3/5/1985
● United States Patent and Trademark Office Registration No. 1,325,938: NIKE. & Swoosh Design                                             3/19/1985
● United States Patent and Trademark Office Registration No. 1,370,283: AIR JORDAN                                                       11/12/1985
● United States Patent and Trademark Office Registration No. 1,558,100: JUMPMAN Design.                                                   9/26/1989
● United States Patent and Trademark Office Registration No. 3,627,820: JUMPMAN                                                           5/26/2009
● United States Patent and Trademark Office Registration No. 3,725,535: AIR JORDAN & Wings Design                                        12/15/2009

Analyst Reports                                                                                                                             Date
● "Taking Stock of StockX: Deep Dive Into The Sneaker Resale Market Leader", Wells Fargo                                                 1/27/2020
● "Sneaker as an Alternate Asset Class, Part III", Cowen                                                                                 5/24/2022

Other                                                                                                                                       Date
● StockX Production Letter                                                                                                               5/23/2023

Websites                                                                                                                                   Date
● https://interbrand.com/newsroom/interbrand-launches-best-global-brands-2022/
● https://qz.com/2005457/for-stockx-selling-jordans-is-just-the-beginning
● https://stockx.com/about/authentication/
● https://stockx.com/about/how-it-works/
● https://stockx.com/about/stockx-cyber-weekend-2021/
● https://stockx.com/about/stockx-launches-vault-nfts/
● https://stockx.com/about/sx-market-insights/big-facts-current-culture-index-2023/
● https://stockx.com/about/sx-market-insights/current-culture-index-22/
● https://stockx.com/about/verification/
● https://stockx.com/help/articles/Are-shoes-sold-on-StockX-considered-deadstock
● https://stockx.com/help/articles/How-do-I-sell-on-StockX
● https://stockx.com/help/articles/What-kinds-of-sneakers-are-sold-on-StockX.
● https://stockx.com/help/articles/where-is-StockX-located
● https://stockx.com/nike/release-date
● https://stockx.com/retro-jordans/release-date
● https://www.bloomberg.com/profile/company/1786Z:SW
● https://www.complex.com/sneakers/stockx-fake-sneakers-nike-lawsuit-38-pairs
● https://www.crunchbase.com/organization/stockx
● https://www.economist.com/films/2022/12/08/what-is-driving-the-proliferation-of-counterfeit-sneakers
● https://www.forbes.com/sites/korihale/2020/12/15/sneakerheads-are-helping-stockx-pursue-a-25-billion-valuation/?sh=46eff5272255
● https://www.nytimes.com/wirecutter/blog/myths-about-counterfeit-products-debunked/
● https://www.statista.com/chart/24313/stockx-gross-merchandise-volume/
● https://www.washingtonpost.com/business/2022/09/30/sneaker-authentication-ebay-stockx-nike/
● https://www.wsj.com/articles/stockx-hub-for-sneakerheads-is-latest-1-billion-unicorn-11561571959




   HIGHLY CONFIDENTIAL –
   OUTSIDE COUNSEL’S EYES ONLY
                                                                      Page 4 of 4
                      Case 1:22-cv-00983-VEC   Document 300-50
                                                        257-50    Filed 11/05/24
                                                                        08/08/24   Page 56 of 62




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                    Page 1 of 1
                      Case 1:22-cv-00983-VEC   Document 300-50
                                                        257-50    Filed 11/05/24
                                                                        08/08/24   Page 57 of 62




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                    Page 1 of 1
                              Case 1:22-cv-00983-VEC   Document 300-50
                                                                257-50      Filed 11/05/24
                                                                                  08/08/24   Page 58 of 62




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                              Page 1 of 1
                              Case 1:22-cv-00983-VEC   Document 300-50
                                                                257-50      Filed 11/05/24
                                                                                  08/08/24   Page 59 of 62




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                              Page 1 of 2
                              Case 1:22-cv-00983-VEC   Document 300-50
                                                                257-50      Filed 11/05/24
                                                                                  08/08/24   Page 60 of 62




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                              Page 2 of 2
Case 1:22-cv-00983-VEC   Document 300-50
                                  257-50       Filed 11/05/24
                                                     08/08/24   Page 61 of 62




                                 Page 1 of 2
                              Case 1:22-cv-00983-VEC   Document 300-50
                                                                257-50       Filed 11/05/24
                                                                                   08/08/24   Page 62 of 62




HIGHLY CONFIDENTIAL –
OUTSIDE COUNSEL’S EYES ONLY
                                                               Page 2 of 2
